Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 1 of 34 PageID #:1532




                   EXHIBIT T
 Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 2 of 34 PageID #:1533



                                                                      Page 1

 1                UNITED STATES DISTRICT COURT
                 Northern District of Illinois
 2      - - - - - - - - - - - - - - - :
                                      :
 3      ANTONI MUHAWI,                :
                                      :
 4                Plaintiff,          : CASE NO.
                                      :
 5                vs.                 : 18-CV-02022
                                      :
 6      PANGEA EQUITY PARTNERS, et    :
        al.                           :
 7                                    :
                  Defendants.         :
 8                                    :
        - - - - - - - - - - - - - - - :
 9
10                      DEPOSITION OF KATHRYN LUDWIG
11
12      DATE:                    December 6, 2022
13      TIME:                    10:00 a.m.
14      LOCATION:                Holland & Knight, LLP
                                 800 17th St., NW
15                               Suite 1100
                                 Washington, DC 20006
16
17
18      REPORTED BY:             Constance H. Rhodes
                                 Reporter, Notary
19
20
21                       Veritext Legal Solutions
22

                                 Veritext Legal Solutions
     www.veritext.com                                                    888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 3 of 34 PageID #:1534


                                                        Page 2                                                                 Page 4
   1         APPEARANCES
                                                                  1           PROCEEDINGS
   2
   3 On behalf of Plaintiff:                                      2 WHEREUPON,
   4   PATRICK R. FITZSIMMONS, ESQUIRE
                                                                  3             KATHRYN LUDWIGH
       ROB FLUSKY, ESQUIRE (Via Zoom)
   5   Hodgson Russ                                               4 called as a witness, and having been first duly
       140 Pearl Street
                                                                  5 sworn, was examined and testified as follows:
   6   Suite 100
       Buffalo, New York 14202                                    6         EXAMINATION BY COUNSEL FOR DEFENDANT
   7   (716) 848-1710
                                                                  7 BY MR. GORDON:
       Pfitzsimmons@hodgsonruss.com
   8                                                              8     Q    Ms. Ludwig, would you please state your
   9 On behalf of Defendants:
                                                                  9 name for the record?
  10   STEVEN D. GORDON, ESQUIRE
       MICHAEL A. GRILL, ESQUIRE (Via Zoom)                      10     A    Sure. My legal name is Kathryn Ludwig,
  11   Holland & Knight
                                                                 11 but I go by Katie.
       800 17th Street, Northwest
  12   Suite 1100                                                12     Q    Have you ever had your deposition taken
       Washington, DC 20006
                                                                 13 before?
  13   (202) 955-3000
       Steven.gordon@hklaw.com                                   14     A    No.
  14
                                                                 15     Q    So let me go over a few preliminaries
  15   SUNIL KUMAR, ESQUIRE
       Deputy General Counsel                                    16 with you. It's important that we don't speak over
  16   Chicago Housing Authority
                                                                 17 each other or -- same with Mr. Fitzsimmons when
       61 East Van Buren, 12th Floor
  17   Chicago, Illinois 60605                                   18 he's questioning you. I'll try to avoid it, but
       Skumar@thecha.org
                                                                 19 if it sometimes happens, we'll just make sure we
  18
  19 ALSO PRESENT:                                               20 get a clean record.
  20   Krusha Evans, Esq., Pangea (via Zoom)
                                                                 21         Second, we'll be using various acronyms
  21
  22             *****                                           22 and shorthands in this deposition. I think they

                                                        Page 3                                                                 Page 5
   1            CONTENTS
                                                                  1   will all be familiar to you, but for the record let
   2 EXAMINATION BY:                          PAGE
   3     Counsel for Defendants             4                     2   me go through them. Can we agree that CHA will
   4                                                              3   stand for Chicago Housing Authority?
   5 DEFENDANTS' MARKED DEPOSITION EXHIBITS:*
   6 Exhibit 60 4/16/15 Cheryl Burns email to Kathryn             4      A Yes.
        Ludwig re: Rent Rolls             35                      5      Q And that we're going to be talking about
   7 Exhibit 61 6/15/15 Cheryl Burns email to Kathryn
        Ludwig re: SFTP for Pangea            38                  6   the housing choice voucher program, which may
   8                                                              7   sometimes be referred to as HCV. Is that
   9
     PLAINTIFF'S PREVIOUSLY MARKED EXHIBITS
                                                                  8   agreeable?
  10                                                              9      A Yes.
     Exhibit 13 7/23/15 email correspondence between
                                                                 10      Q And I am counsel for the defendants in
  11    CHA CVP and Pangea re: Rent Rolls
     Exhibit 26 11/2/15 Cheryl Burns email to Kathryn            11   this case, a group of entities that are connected
  12    Ludwig re: HCV Sept. Rent Roll.
                                                                 12   to Pangea. For simplicity we'll just refer to
     Exhibit 55 Chicago Housing Authority FY2015
  13    Administrative Plan for Housing Choice                   13   them as Pangea. Is that acceptable to you?
        Voucher Program                                          14      A Sure.
  14
  15                                                             15      Q I don't think I have any other
     DEFENDANTS' PREVIOUSLY MARKED EXHIBITS                      16   preliminaries beyond those.
  16
     Exhibit 35 4/16/15 email correspondence                     17          Ms. Ludwig, would you please recount your
  17    between CHA CVP and Pangea re: Rent                      18   education post secondary?
        Rolls
  18
                                                                 19      A Sure. I have a master's degree in
  19                                                             20   public policy from the University of Chicago. I
  20
                                                                 21   graduated from there in 2001.
  21
  22 (* Exhibits attached to transcript.)                        22      Q Okay. And your undergraduate degree?

                                                                                                                      2 (Pages 2 - 5)
                                              Veritext Legal Solutions
 www.veritext.com                                                                                                     888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 4 of 34 PageID #:1535


                                                    Page 6                                                      Page 8
   1      A I have a bachelor's of arts, a BA, from           1   generally speaking, so decided that I wanted to
   2   DePaul University, and I double majored in English     2   get back into that and heard -- you know, saw
   3   and political science. I graduated there in '99.       3   openings there and decided to -- to apply and move
   4      Q And could you recount for us your                 4   over there.
   5   employment history after getting your master's         5       Q What position did you take as CHA?
   6   degree?                                                6       A So I think the title -- at the time I
   7      A Sure. I started -- after I graduated              7   know my title changed a couple times while I was
   8   from the Harris School of the University of            8   at CHA. I don't remember -- I want to say the
   9   Chicago, I started in the City of Chicago's budget     9   exact title I don't remember, but it was something
  10   office, and I worked there -- so that was in like     10   to the effect of like deputy for the housing
  11   the summer of 2001. I worked there for three or       11   choice voucher program. I don't exactly remember
  12   four years and then worked for the City of Chicago    12   the title.
  13   in various capacities. I worked in the Department     13       Q And you joined CHA in approximately
  14   of Housing. I worked in the Chicago Public            14   2014?
  15   Library. And then eventually moved over to the        15       A Early 2014, yes.
  16   Chicago Housing Authority. And I don't remember       16       Q And during your -- when was it that you
  17   exactly which year that was, but I spent about        17   left CHA?
  18   four and a half years there at the Chicago Housing    18       A I left CHA in, I want to say,
  19   Authority at the CHA.                                 19   October 2018.
  20      Q Okay. Now, how many years were you at            20       Q So you were at CHA for a little over
  21   the Chicago Public Library?                           21   four years? About four and a half years?
  22      A I was there about a year.                        22       A Yes.
                                                    Page 7                                                      Page 9
   1       Q And what position did you have there?            1       Q During your time at CHA did your
   2       A I was the deputy commissioner over               2   position change?
   3   finance and administration.                            3       A Yes.
   4       Q And how many deputy commissioners are            4       Q How did it change?
   5   there in the library?                                  5       A At some point -- and again, I can't
   6       A There -- I think it -- so there was a            6   remember exactly when, the CEO did a
   7   commissioner and there was a first deputy              7   reorganization, and I became a chief and I
   8   commissioner, and then I think at the time I was       8   reported directly to the CEO, Jean Jones, at the
   9   the only other deputy commissioner.                    9   time. So yeah, I went from being a deputy, or
  10       Q So is it fair to say that you held one          10   again some similar title to that, to then being a
  11   of the top three administrative posts in the          11   chief -- the chief housing choice officer --
  12   library?                                              12   excuse me -- chief housing choice voucher officer.
  13       A Sure.                                           13       Q Okay. Is it fair to say then that your
  14       Q And you said you were in charge of              14   entire tenure with CHA you were working in the
  15   finance there?                                        15   housing choice voucher program?
  16       A Yeah. Finance and administration.               16       A Yes.
  17       Q What led you to move to CHA?                    17       Q And you were first the deputy chief and
  18       A I -- so I had previously worked in the          18   ultimately the chief of the CHA housing choice
  19   city housing issues. For probably most of my          19   voucher program?
  20   career with the City of Chicago I was working on      20       A Correct.
  21   housing issues. I enjoyed my work at the library      21       Q When you were deputy, to whom did you
  22   but really missed working on housing stuff            22   report?

                                                                                                     3 (Pages 6 - 9)
                                            Veritext Legal Solutions
 www.veritext.com                                                                                     888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 5 of 34 PageID #:1536


                                                   Page 10                                                           Page 12
   1      A I initially reported to Ellen Sahli, and          1 members of the executive team as well that I just
   2   I don't remember exactly what her title was.           2 don't remember specific names and titles.
   3   Maybe something to the effect of chief housing         3     Q    And what issues do you recall consulting
   4   officer. At some point Ellen left. I don't             4 with these other people on?
   5   remember when that was, and I will say I don't         5     A    I mean lots of different, you know,
   6   remember who I was reporting to at that time.          6 policy issues, different -- all different kinds of
   7      Q Okay and then thereafter you started              7 issues. I mean lots of different things that
   8   reporting to the CEO when you became chief?            8 would come up.
   9      A Correct.                                          9     Q    Can you give us some examples?
  10      Q Now, when you reported to -- Ms. Sahli           10     A    You know, how we were going to -- you
  11   was it?                                               11 know, dealing with our wait list. And one of my
  12      A Yes.                                             12 first projects when I worked at CHA was opening
  13      Q Was she the chief of the housing choice          13 the wait list. And we were going to open the wait
  14   voucher program, or were her responsibilities         14 list for the housing choice voucher program and
  15   broader than the housing choice --                    15 public housing program at the same time. So there
  16      A Her responsibilities were broader than           16 was a lot of coordination there. I was not the
  17   the housing choice voucher program.                   17 sole decision maker on any of that. I had to be
  18      Q So is it fair to say then during that            18 coordinating all of that. So that's just one
  19   entire period you were the top administrator for      19 example.
  20   the housing choice voucher program as such?           20         But other issues related to sort of
  21          MR. KUMAR: Objection to form. You may          21 engagement with our population and how we were going
  22   answer.                                               22 to be out reaching to them and communicating to
                                                   Page 11                                                           Page 13
   1       A I would say I focused on the housing             1   them, those kinds of things, also would be another
   2   choice voucher program, but I was not the ultimate     2   example.
   3   decision maker on the program while I was there.       3          MR. FITZSIMMONS: Steve, I'm sorry to
   4       Q Who was the ultimate decision maker?             4   interrupt. We have people in the waiting room to be
   5       A I think there were many decisions that           5   let into the deposition.
   6   would be made at a higher executive level. So          6          (Brief pause.)
   7   whether I was at the deputy chief level or at the      7   BY MR. GORDON:
   8   chief level, there were other folks that would         8       Q Ms. Ludwig, you said that one of your
   9   have a say in HCV matters.                             9   big projects when you came to CHA was to open up
  10       Q And who were those folks?                       10   the waiting list for the voucher program; is that
  11       A So the chief executive officer, you             11   right?
  12   know, others on the executive team.                   12       A Yes.
  13       Q And who were those others?                      13       Q What other big projects did you
  14       A Oh, I'm trying to remember. I mean              14   undertake while you were at CHA.
  15   there were -- there were a lot of different people    15       A I'm trying to think here. That was one
  16   there. It's been a while. I know our -- and           16   of the biggest and took a while. We were also in
  17   again, I can't remember what his title was --         17   a significant period -- or issuing more vouchers.
  18   chief of staff. Jose Alvarez was one person. The      18   So we were doing -- we kind of referred to it as
  19   chief legal officer. I consulted a lot of with        19   our lease-up project, so we were increasing the
  20   our public housing folks and whoever was in charge    20   number of voucher holders that we had in our
  21   of the public housing side of the operation. So       21   program. So that was another initiative.
  22   other members -- and again, there were other          22          I know we did -- sort of another project

                                                                                                        4 (Pages 10 - 13)
                                            Veritext Legal Solutions
 www.veritext.com                                                                                             888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 6 of 34 PageID #:1537


                                                            Page 14                                                     Page 16
   1   we worked on was sort of reconfiguring I guess -- I             1   And you mentioned it increased, so if you could
   2   can't think of a better word -- for our -- we had a             2   sort of give us an idea of what it started at and
   3   group of voucher holders that we referred to -- I               3   how it increased.
   4   think they were the voucher holding council. I                  4       A I will say I don't remember what we
   5   might not be getting the name exactly right, but it             5   started at when I was at CHA. By the time I left
   6   was a group of, you know, a dozen or so voucher                 6   I want to say we were right around 40,000
   7   holders that we met with regularly to get their                 7   households. But we -- I can't remember exactly
   8   feedback on how the program was going.                          8   where we were when I started.
   9          At one point we sort of re -- like I said,               9       Q But it was significantly less than that?
  10   reconfigured that group and had people apply for               10       A I think so. I want to say it was --
  11   positions on that council and things like that. I'm            11   yes. I just can't remember the exact number.
  12   trying to think -- I know this is going back a                 12       Q Let me switch to the landlord side and
  13   while, so I have kind of limited recollection.                 13   ask approximately how many landlords did you have
  14   Those are the biggest ones I can remember off the              14   in the program?
  15   top of my head right now.                                      15       A I don't remember that.
  16       Q And now you just mentioned the voucher                   16       Q Can you give even a ballpark figure?
  17   holder council. Those are in some ways the people              17       A I really could not. I don't remember
  18   you are serving. This would be a group                         18   that.
  19   representing the people you are serving.                       19       Q All right. Who were the biggest
  20       A Yes.                                                     20   landlords in the program?
  21       Q Did you have any similar organization                    21       A I wouldn't -- I don't even remember
  22   with respect to landlords?                                     22   that.
                                                            Page 15                                                     Page 17
   1     A    Yes.                                                     1       Q Okay. Could you tell me, please, who
   2     Q    Could you tell me about that please.                     2   were the direct reports that you had while you
   3     A    Sure. We had a group of landlords that                   3   worked at CHA?
   4 we met with regularly. I'm trying to think. The                   4       A Sure. I don't know that I will remember
   5 landlord group may have been a bit different from                 5   each and every one of them, but I know -- I will
   6 the resident group, though, in that -- so we held                 6   tell you that the main ones, I guess, were Cheryl
   7 regular landlord networking events, but I honestly                7   Burns, Karen Humphrey. Donna Thomas was my
   8 can't remember if that was a closed group or if                   8   assistant. I think Steven Field reported directly
   9 any landlord who wanted to attend could attend.                   9   to me. There may have been others, but those are
  10         The resident group was very much like you                10   the ones I remember most right now.
  11 had to be appointed to that group to attend. The                 11       Q What was Ms. Burns' area of
  12 landlord group -- I can't remember -- I think it may             12   responsibility?
  13 have been more open. But we held regular -- and I                13       A So I don't -- you know, I don't remember
  14 want to -- I can't remember how often we held them,              14   exactly what her job description would have been.
  15 but regular networking events, typically in the                  15   I thought of her as sort of everything related to
  16 evening where we would meet with them and get them               16   the operation of the program was sort of her area
  17 feedback on the different issues and talk to them                17   of responsibility. She -- she took, you know,
  18 about new things that might be coming out, so on and             18   primary responsibility for the -- again, the
  19 so forth.                                                        19   operation of the program.
  20     Q    Approximately -- and I'm looking just                   20       Q And what was the primary responsibility
  21 for ballpark figures here -- approximately how                   21   of Ms. Humphrey?
  22 many voucher holders did you have in the program?                22       A Karen did a lot of our outreach

                                                                                                           5 (Pages 14 - 17)
                                                     Veritext Legal Solutions
 www.veritext.com                                                                                             888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 7 of 34 PageID #:1538


                                                   Page 18                                                      Page 20
   1   engagement following up on concerns raised by          1   correspondence that you reviewed to refresh
   2   landlords or tenants. Yeah. Those were the main        2   yourself?
   3   areas of responsibility.                               3      A I was sent it by Sunil, my attorney.
   4      Q Your assistant, Ms. Thomas, did she have          4      Q Other than your contacts with Mr. Kumar
   5   any particular responsibilities or she was --          5   or other attorneys at CHA, have you had contact
   6      A She -- Donna mostly helped me                     6   with anyone else about the case?
   7   administratively. So right, like helping me with       7      A I will say some point earlier this
   8   scheduling, answering calls, correspondence, those     8   Cheryl reached out to me and just asked if I had
   9   kind of things.                                        9   any materials, notebooks, notes, anything like
  10      Q And Mr. Field, what was his area of              10   that; and I told her I didn't. So she didn't give
  11   responsibility?                                       11   me any detail but kind of had said, hey, there's
  12      A He helped me -- well helped all of us,           12   this things going on and do you have any notes or
  13   helped the team on primarily policy related           13   anything on this, and I said, no, I don't.
  14   matters. So you know, if we were considering, you     14      Q In addition to reviewing the materials
  15   know, changing any of our policies, things like       15   that you mentioned, did you do anything else to
  16   that, he was -- you know, would do research on        16   prepare for your deposition today?
  17   that. So again, mostly policy matters.                17      A No. Well, I guess I -- I will say I met
  18      Q Why did you leave CHA in 2018?                   18   with Sunil for a couple hours the other day just
  19      A I was ready for a change. I had been             19   to go over some other things. Technically, I
  20   there for four and a half years. I enjoyed            20   suppose that was prep, so I should correct that.
  21   working on housing stuff but was also ready to,       21      Q When do you first recall dealing with
  22   again, make a change and go work on some different    22   Pangea as one of the landlords in the CHA program?
                                                   Page 19                                                      Page 21
   1   things so decided to explore other opportunities.      1       A I guess I would say -- what do you mean
   2       Q Ms. Ludwig, let me turn to the lawsuit           2   by "dealing with"? And the only reason I would
   3   that brings us all here today which involves Mr.       3   say I personally wasn't dealing with them but I --
   4   Muhawi suing Pangea under the False Claims Act.        4   from day one I knew they were a landlord in the
   5   And my first question to you, ma'am, is what           5   program.
   6   knowledge, if any you have about this lawsuit?         6       Q Well, and why is it or how is it that
   7       A I've looked over some of the materials,          7   you knew that Pangea was a landlord in the
   8   so I guess I would a say high-level understanding      8   program?
   9   of the claims.                                         9       A They were a -- it was just common
  10       Q What materials have you looked at,              10   knowledge. They were a large landlord in the
  11   ma'am?                                                11   city, and so they -- you know, it was just sort of
  12       A I looked at some of the emails that I           12   common knowledge they were a landlord in the
  13   was copied on back when I was working at CHA. I       13   program.
  14   think I saw some copies of exhibits and maybe         14       Q Would it be fair to say they were at
  15   even -- I don't know what the right word is -- the    15   least one of the large landlords in the program?
  16   complaint or the -- you know, the writeup. I          16       A Yes.
  17   didn't read it in detail, but I kind of glanced       17       Q Do you recall any other large landlords
  18   over it.                                              18   in the program that you would put in the same
  19       Q Did you retain any CHA materials when           19   category as Pangea?
  20   you left CHA?                                         20       A Not off the top of my head.
  21       A No.                                             21       Q And would it be fair to say then that
  22       Q How was it that you received the email          22   they were the largest landlord as far as you knew?

                                                                                                   6 (Pages 18 - 21)
                                            Veritext Legal Solutions
 www.veritext.com                                                                                     888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 8 of 34 PageID #:1539


                                                   Page 22                                                    Page 24
   1       A I don't feel comfortable saying that             1      A Yes.
   2   just because I don't recall right now, and, again,     2      Q And how often did you deal with the
   3   it's been some time. So possibly. I just don't         3   office of inspector general or OIG?
   4   know with any certainty.                               4      A I don't know how often. I don't know
   5       Q Can you think of any other landlord that         5   how often I would meet with them or anything like
   6   was of comparable size?                                6   that. I know when we had issues to discuss we
   7       A Again, not right now.                            7   would meet; but again, I don't know how frequently
   8       Q When do you recall first having any              8   that was.
   9   dealings with Pangea yourself?                         9      Q And what issues do you recall dealing
  10       A I don't remember. I mean -- yeah, I             10   with OIG on?
  11   don't remember.                                       11      A I don't -- again, it's been a long time
  12       Q What sort of dealings do you recall             12   I don't have specific memories of any of those
  13   having with Pangea during the course of your          13   cases right now.
  14   tenure at CHA?                                        14      Q Do you recall that there was a complaint
  15       A I'm sure we exchanged emails, and I             15   made to OIG about Pangea charging higher rents for
  16   think at one point probably had some meetings.        16   assisted units than for unassisted units?
  17   But I don't recall when those were.                   17      A I did not recall that. I don't -- I was
  18       Q What sort of meetings do you recall             18   not aware of that.
  19   having with Pangea?                                   19      Q Do you recall that issue coming up,
  20       A I don't even remember what the topics           20   albeit not in connection with OIG?
  21   were. I do believe that Pangea did attend our         21      A I remember, yes, this issue being
  22   landlord -- again, those -- those landlord            22   brought to my attention, yes.
                                                   Page 23                                                    Page 25
   1   networking sessions that I referred to earlier. I      1      Q Who brought it to your attention?
   2   believe Pangea attended those fairly regularly.        2      A Cheryl did.
   3   So I think I would see them there, interact with       3      Q And appreciating that it's been a while,
   4   them there. I think, in addition, I had meetings       4   can you tell us approximately when it was that she
   5   with them at CHA offices. I cannot remember what       5   brought it to your attention?
   6   the topics of those conversations would have been.     6      A I would not remember that.
   7       Q Okay. Do you recall any of the                   7      Q We'll look at some emails that may help
   8   individuals from Pangea that you dealt with?           8   give us a time frame.
   9       A I do remember David Jaffe, and I think           9           Tell us what you recall about Ms. Burns
  10   there were others, but I don't remember names.        10   bringing this to your attention.
  11       Q What did you understand Mr. Jaffe's             11      A I remember Cheryl, again, letting me
  12   position at Pangea to be?                             12   know that there was a concern that had been raised
  13       A I don't really know. Someone in charge          13   that it was potentially the case that Pangea was
  14   of lease up, but I couldn't say with any              14   charging on HCV tenants a higher rent than market
  15   certainty.                                            15   tenants or nonsubsidized, non-HCV tenants in the
  16       Q Did you deal with Pangea more or less           16   same building and wanting to know -- you know,
  17   than other landlords in the voucher program?          17   wanting to get my feedback on sort of how we
  18       A Did I personally?                               18   should proceed. She made a recommendation on
  19       Q Yes.                                            19   what, you know, what she thought we should do,
  20       A I wouldn't say any more or less.                20   and, you know, we both agreed that the CHA should
  21       Q During your tenure at CHA, did you have         21   look into this, review the matter, review the
  22   dealings with the CHA office of inspector general?    22   facts, and go from there. And I asked Cheryl to

                                                                                                 7 (Pages 22 - 25)
                                            Veritext Legal Solutions
 www.veritext.com                                                                                    888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 9 of 34 PageID #:1540


                                                  Page 26                                                     Page 28
   1   sort of take the lead on all of that.                 1       Q At least near in time to that?
   2      Q What was her recommendation?                     2       A I would -- I don't know.
   3      A That we should review, again, the                3       Q Okay. Do you recall the meeting?
   4   information that we had at our -- available to us.    4       A I remember having a discussion with
   5      Q What steps were 1taken to do that?               5   Cheryl about this one. I don't remember a
   6          MR. KUMAR: Objection. Form. Foundation.        6   specific meeting, but I remember having a
   7   You may answer.                                       7   discussion about this.
   8          THE WITNESS: I believe we -- and when I        8       Q All right. You told us that you
   9   say we, I mean CHA -- requested information from      9   discussed the issue with Cheryl beforehand to
  10   Pangea about the units that it was renting to the    10   decide on a course of action, correct?
  11   HCV holders as well as information for non-CHA       11       A Yes.
  12   leaseholders.                                        12       Q Now, when you talk about recollecting
  13   BY MR. GORDON:                                       13   something with Cheryl, do you recall being present
  14      Q Would this information be called                14   at a meeting with Cheryl and Pangea or not?
  15   rent-roll information?                               15       A No.
  16      A Yes.                                            16       Q So you don't have a recollection of
  17      Q Is that a common term in the industry?          17   being present with Pangea?
  18      A Sure.                                           18       A Correct.
  19      Q Were you present at a meeting with              19       Q Were you aware at the time that a
  20   Pangea when a request was made for rent-roll         20   request for rent-roll information had been made to
  21   information?                                         21   Pangea?
  22      A I don't remember.                               22       A What time? What time are we talking
                                                  Page 27                                                     Page 29
   1       Q Let me show you what is Plaintiff's             1   about?
   2   Exhibit 13 in this matter. And it's a multi-page      2       Q In April of 2015.
   3   email chain. Let me direct your attention, if I       3       A I don't know. Yeah. I don't know. Can
   4   may, to the page that at the bottom right-hand        4   you say your question again?
   5   corner has the identifying mark CHA179 and ask you    5       Q Sure. Let me come at it a different
   6   if you would take a look at the email that appears    6   way. You told us that you and Ms. Burns discussed
   7   at the top of that page.                              7   doing a review, getting some information and doing
   8          Have you had a chance to review it?            8   a review, correct?
   9       A Yes.                                            9       A Yes.
  10       Q Do you recognize this email?                   10       Q Do you recall that Ms. Burns proceeded
  11       A Yes.                                           11   to do so?
  12       Q What is it?                                    12       A Yes.
  13       A This is an email from Cheryl to Brenda         13       Q Did Ms. Burns, as you recall it, keep
  14   Jimenez, and I am copied on it, David Jaffee is      14   you apprised of what was happening?
  15   copied on it, and it's an email from Cheryl is       15       A Yes.
  16   requesting rent-roll information from Pangea.        16       Q Now, do you recall learning either from
  17       Q She references a meeting that involved         17   Ms. Burns or otherwise that a request for
  18   her and you, does she not?                           18   rent-roll information had been made to Pangea?
  19       A Yes.                                           19       A Yes.
  20       Q Do you believe that meeting occurred           20       Q Okay. Now, I'm going to ask you some
  21   that same day?                                       21   questions generally without giving you at this
  22       A I don't know.                                  22   point the benefit of emails. We can go through

                                                                                                 8 (Pages 26 - 29)
                                           Veritext Legal Solutions
 www.veritext.com                                                                                   888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 10 of 34 PageID #:1541


                                                     Page 30                                                     Page 32
    1   emails later.                                           1      Q Yes, ma'am.
    2       A Okay.                                             2      A I would say in summary that Pangea is
    3       Q Looking at the whole issue generally              3   explaining why they don't want to provide
    4   what do you recall Pangea's response being to the       4   additional information that CHA had requested, and
    5   request for rent-roll information?                      5   they outlined three different reasons as to why
    6       A Generally, I remember that there was a            6   they don't want to provide that information.
    7   significant amount of back and forth between the        7      Q So Pangea is pushing back on the request
    8   CHA and Pangea and that the information provided        8   for rent roll information?
    9   by Pangea was not in a format that was easy for us      9      A Yes.
   10   to analyze. And again, when I say we, I mean CHA.      10      Q And in particular pushing back on it
   11       Q And when you say "a significant back and         11   insofar as it related to the market-rate tenants?
   12   forth," what is your recollection of how long that     12      A Yes.
   13   went on?                                               13      Q Did you believe CHA had a right to that
   14       A I don't remember specifics. A couple             14   information?
   15   months.                                                15      A Yes.
   16       Q And what was the verbal outcome of that          16      Q And do you recall why you believe CHA
   17   back and forth?                                        17   had a right to it?
   18       A I don't remember. I -- I don't                   18      A It is in the regulation and in the
   19   remember.                                              19   housing assistance payment contract that a
   20       Q Okay. Do you recall yourself being               20   landlord enters into with the CHA.
   21   involved in any of that back and forth?                21      Q So let me ask you to take a look at the
   22       A I remember being copied on emails, but I         22   time of day that this email from Mr. Jaffee
                                                     Page 31                                                     Page 33
    1   would -- Cheryl was taking the lead on it. I had        1   arrived. Do you see that?
    2   pretty limited involvement. It was, again,              2       A Uh-huh.
    3   something she was taking the lead on. So I wasn't       3       Q 8:31 a.m.
    4   paying a huge amount of attention to it.                4       A Uh-huh.
    5       Q Let me ask you to take a look at the              5       Q I need you to say yes or no.
    6   same exhibit in front of you, Exhibit 13, and look      6       A Yes. Sorry. Yes.
    7   at the preceding page, the one you just looked at,      7       Q I'm going to show you another exhibit,
    8   the one that is marked CHA 178 at the bottom, and       8   Ms. Ludwig. This is Defendants' Exhibit 35. And
    9   ask you to review the email that appears the            9   let me direct your attention to start with to the
   10   bottom two thirds of that page.                        10   first page of this exhibit marked CHA 10 to the
   11          Have you had a chance to look at it?            11   email in the middle of the page.
   12       A Yes.                                             12          Do you see that?
   13       Q Do you recall that email?                        13       A Yes.
   14       A No.                                              14       Q And do you recognize that as an email
   15       Q Do you recognize it now that you see it?         15   you sent?
   16       A Yes.                                             16       A Yes.
   17       Q Okay. And how would you summarize this           17       Q And that is sent on the very same day at
   18   email. Obviously, it speaks for itself, but what       18   8:42?
   19   was your reaction to this email?                       19       A Yes.
   20       A I don't remember what my reaction was.           20       Q So basically within minutes of when
   21   Do you want me to tell you how I'm interpreting it     21   Mr. Jaffee sent his?
   22   now?                                                   22       A Yes.

                                                                                                    9 (Pages 30 - 33)
                                              Veritext Legal Solutions
  www.veritext.com                                                                                     888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 11 of 34 PageID #:1542


                                                             Page 34                                                      Page 36
    1      Q And this is sent by you?                                   1   BY MR. GORDON:
    2      A Yes.                                                       2       Q Ms. Ludwig, do you recognize the email
    3      Q And you say: Very annoying. I know                         3   in the middle of Exhibit 60 as being another email
    4   this is in the regs, but is it also listed in the               4   you sent to Ms. Ludwig the same day?
    5   HAP contract?                                                   5       A I sent to Ms. Burns.
    6      A Correct.                                                   6       Q I'm sorry.
    7      Q And you are sending this email to                          7       A That's okay. Yes.
    8   Ms. Burns?                                                      8       Q And this is about ten minutes after your
    9      A Correct.                                                   9   first one?
   10      Q And this is unprompted by Ms. Burns.                      10       A Yes.
   11   This is your reaction to looking at Mr. Jaffee's               11       Q And there you say: Ooh, I found it in
   12   email?                                                         12   the HAP contract.
   13      A Correct.                                                  13       A Yes.
   14      Q Do you recall this incident with the                      14       Q With an exclamation.
   15   benefit of the email?                                          15       A Yes.
   16      A I don't recall it. I'm reading it now,                    16       Q So you were pleased with yourself?
   17   you know, so -- but I don't -- I don't                         17       A Yes.
   18   specifically recall this.                                      18       Q All right. And then Ms. Burns responds
   19      Q It doesn't trigger a recollection for                     19   to you: I was in a meeting. Thanks. Do you
   20   you?                                                           20   recall to respond or should I?
   21      A No.                                                       21       A Yes.
   22      Q All right. And then let me direct your                    22       Q Do you recall who responded to Pangea?
                                                             Page 35                                                      Page 37
    1 attention now to the email at the top of the first                1       A I do not.
    2 page of that exhibit -- or actually, let me direct                2       Q Since the matter was primarily
    3 your attention not to that, but to a -- because I                 3   Ms. Burns' to pursue, why was it that you took it
    4 believe the timing on that is inaccurate -- I'm                   4   on yourself to figure out where in the HAP
    5 going to show you a different version of it.                      5   contract it was?
    6         Let me show you what has been marked for                  6       A I don't know. I couldn't comment on why
    7 identification as Defendants' Exhibit 60 and direct               7   I decided to do that. So yeah. I don't know.
    8 your attention to the email in the middle of that                 8       Q All right. Ms. Ludwig, you told us that
    9 exhibit.                                                          9   you recall that as this back and forth between CHA
   10         (DEFENDANTS' Exhibit Number 60 was                       10   and Pangea over the rent rolls went on, Pangea
   11         marked for identification.)                              11   provided information in a format that was -- I
   12 BY MR. GORDON:                                                   12   don't want to put words in your mouth -- but a
   13     Q    Do you recognize that, Ms. Ludwig, as                   13   format that was difficult or not easy to use.
   14 another email that you sent to Ms. Burns?                        14       A Yes. My recollection is that the
   15         MR. FITZSIMMONS: Can I -- just for the                   15   information we got from Pangea didn't easily lend
   16 record, I think we stopped at Exhibit 59, so you are             16   itself to allowing us -- allowing staff to make
   17 marking this one now as Exhibit 60?                              17   comparisons and do analysis.
   18         MR. GORDON: Yes. That's why I started                    18       Q Do you recall why that was?
   19 with 60. Mike told me that we were at 59.                        19       A I think -- I don't remember the specific
   20         MR. FITZSIMMONS: You premarked them so I                 20   reasons. I just remember it was not easy.
   21 wasn't expecting that you had premarked it. All                  21       Q And do you recall discussing this with
   22 right. We're on the same page.                                   22   Ms. Burns?

                                                                                                           10 (Pages 34 - 37)
                                                     Veritext Legal Solutions
  www.veritext.com                                                                                              888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 12 of 34 PageID #:1543


                                                     Page 38                                                      Page 40
    1       A Yes.                                              1   Pangea if they didn't produce the information, the
    2       Q And do you recall discussing it with              2   rent roll information?
    3   anybody else?                                           3       A Yes.
    4       A No.                                               4       Q Do you believe Ms. Burns wanted to make
    5       Q Was CHA ultimately able to obtain                 5   sure you were okay with that?
    6   information from Pangea in a form that it found         6       A Yes. She probably just wanted to make
    7   usable?                                                 7   sure I was okay with that.
    8       A I'm not sure. I don't remember.                   8       Q Now, during your tenure at CHA do you
    9       Q Do you recall any steps that CHA took in          9   recall ever making that sort of threat to a
   10   the course of getting Pangea to provide                10   landlord other than Pangea?
   11   information?                                           11       A Me, personally?
   12       A Do I remember any steps --                       12       Q CHA doing it.
   13       Q Yes.                                             13       A I don't have any recollection one way or
   14       A -- involved. Other than making the               14   the other. It's possible. I just don't remember.
   15   request, I don't remember any steps.                   15       Q Okay. That would be a fairly drastic
   16          (DEFENDANTS' Exhibit Number 61 was              16   step, wouldn't it?
   17          marked for identification.)                     17          MR. KUMAR: Objection to form. You may
   18   BY MR. GORDON:                                         18   answer.
   19       Q Ms. Ludwig, I'm going to show you what's         19          THE WITNESS: I don't know if it would be
   20   been marked for identification as Defendants'          20   drastic. I think it -- you know, we took our
   21   Exhibit 61. And I'm going to direct your               21   commitment really seriously, and if people aren't --
   22   attention first to the email at the bottom of the      22   if landlords weren't following the rules, right,
                                                     Page 39                                                      Page 41
    1   first page marked CHA 90, an email from Ms. Burns       1   then we were going to do what needed to be done to
    2   to you dated June 15th, 2015, at 1:46 p.m.              2   ensure compliance.
    3       A Yes.                                              3           So drastic, I guess, is a -- an opinion,
    4       Q Okay. Would you review that, please?              4   right? Some people might say it's drastic, and I
    5       A Yes.                                              5   would say, hey, it's not drastic; this is the ways
    6       Q Do you recognize that email as one that           6   -- this is the rules. So yeah, I guess, it's hard
    7   Ms. Burns sent to you?                                  7   to say whether it would be drastic or not.
    8       A Yes.                                              8   BY MR. GORDON:
    9       Q And now that you've had a chance to               9       Q How significant an issue was it that
   10   review it, do you recall it?                           10   there was an allegation that Pangea was charging
   11       A No. I mean, it was sent clearly. I               11   more for assisted units than for comparable
   12   received it, but I don't remember getting it.          12   unassisted units in the same building?
   13       Q All right. Now, in this email Ms. Burns          13       A I don't -- I don't know -- I would say
   14   is running by you an email that she's thinking         14   we were concerned. I don't know that I could rate
   15   about sending to Pangea, correct?                      15   the significance, but I would say that we were
   16       A Correct.                                         16   concerned about it.
   17       Q Why would she run that by you?                   17       Q If you confirmed that that was
   18       A I don't know why. I don't know what her          18   happening, what would CHA have done?
   19   motivation would be. I don't know.                     19           MR. FITZSIMMONS: Objection. Calls for a
   20       Q Well, the email that she proposed to             20   hypothetical.
   21   send to Pangea basically contained a threat,           21           THE WITNESS: I don't know. Again, I
   22   didn't it, that CHA would cut off new units for        22   haven't been there in a while. I don't remember all

                                                                                                   11 (Pages 38 - 41)
                                              Veritext Legal Solutions
  www.veritext.com                                                                                       888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 13 of 34 PageID #:1544


                                                    Page 42                                                   Page 44
    1   of the different processes that we had in place for   1        Q And what was the nature of the
    2   how to proceed in these kinds of cases. So I'm not    2    noncompliance?
    3   exactly sure what the steps would have been. So...    3        A I don't remember the specific cases. I
    4   BY MR. GORDON:                                        4    don't remember the ins and outs and the specifics
    5       Q In general what do you think the steps          5    of them. I just have, again, general recollection
    6   would have been?                                      6    of us taking action against landlords.
    7           MR. FITZSIMMONS: Same objection.              7        Q Now, directing your attention back to
    8           THE WITNESS: I think we would have moved 8         Exhibit 61, after Ms. Burns sent you the email
    9   to bring the landlord into compliance or -- and that  9    we've just discussed, you responded to her that
   10   may include asking them to -- you know, having them 10     you were fine with her sending the email to
   11   no longer participate in the program.                11    Pangea?
   12   BY MR. GORDON:                                       12        A Yes.
   13       Q Why would ending their participation in        13        Q And you added that -- you made a
   14   the program be called for? Or are you suggesting     14    suggestion for adding to it, right?
   15   that it would be a step if the landlord wouldn't     15        A Correct.
   16   come into compliance?                                16        Q What was that suggestion?
   17       A Correct. So I interpreted your question        17        A I wrote that she should ask for the data
   18   to mean if we determined that a landlord was not     18    to be in either an .xlsx or .csv format because
   19   in compliance what would the CHA have done.          19    Pangea kept sending us PDFs which were not easy to
   20       Q Yes.                                           20    analyze.
   21       A So again, this is why this gets                21        Q Do you recall what the result was after
   22   difficult, right, because there's lots of what       22    Ms. Burns sent this email?
                                                    Page 43                                                   Page 45
    1   ifs. But generally speaking, we would require          1      A I don't.
    2   them to get into compliance or ask them -- you         2      Q Do you recall ever following up with her
    3   know, require that they no longer participate in       3   about what rent roll data Pangea produced?
    4   the program. Those would be sort of two choices.       4      A I don't remember having follow-up
    5       Q Do you recall this issue coming up               5   conversations. I don't remember.
    6   during your tenure with any landlord other than        6      Q During this back and forth between CHA
    7   Pangea?                                                7   and Pangea about obtaining the rent roll
    8          MR. FITZSIMMONS: Objection.                     8   information, who was the principal point of
    9          MR. KUMAR: Objection to form.                   9   contact at Pangea?
   10          THE WITNESS: I don't off the top of my         10      A I don't know. Cheryl was our main
   11   head. Again, this was a long time ago.                11   point. So I don't know who the main point at
   12   BY MR. GORDON:                                        12   Pangea was.
   13       Q During your tenure with CHA do you              13      Q Did you ever discuss this issue directly
   14   recall making decisions to exclude any landlords      14   with anyone at Pangea?
   15   from the voucher program based on noncompliance       15      A Not that I remember.
   16   with requirements?                                    16      Q Did you ever discuss this issue, the
   17       A I have vague recollection of taking             17   back and forth, about the rent rolls with any of
   18   action against some landlords. How far it went in     18   your superiors at CHA?
   19   terms of whether or not they were cut out of the      19      A Not that I recall.
   20   program, I can't recall. But I do know we, you        20      Q Do you recall ever discussing Pangea
   21   know, took action against -- you know,                21   with any of your superiors at CHA?
   22   compliance-related action against landlords.          22      A Not off -- not that I remember, no.
                                                                                                12 (Pages 42 - 45)
                                             Veritext Legal Solutions
  www.veritext.com                                                                                   888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 14 of 34 PageID #:1545


                                                    Page 46                                                     Page 48
    1        Q Ms. Ludwig, I'm going to show you what          1         THE WITNESS: I'm not sure. Again, Share
    2   is Plaintiff's Exhibit 26 and direct your              2   wasn't my main point of contact, so I don't know.
    3   attention to the email at the top of the first         3   BY MR. GORDON:
    4   page of that exhibit from Ms. Burns to you dated       4      Q This email references a discussion
    5   November 2nd, 2015.                                    5   between you and Ms. Burns regarding Pangea,
    6        A Yup.                                            6   correct?
    7        Q And in that email Ms. Burns advises you:        7      A Yes.
    8   Katie, per our discussion this was the last report     8      Q And in the time frame of November 2015?
    9   Russell provided to me.                                9      A Correct.
   10          Who is Russell?                                10      Q Do you recall having a discussion with
   11        A Russell was another employee at CHA who        11   Ms. Burns about how the investigation or reviewer
   12   worked with Cheryl and I in the HCV program.          12   had progressed?
   13        Q What did he do?                                13      A I don't remember having a specific
   14        A I don't remember Russell's exact title,        14   conversation.
   15   but I sort of always thought of him as our            15      Q All right. Aside from a specific
   16   SharePoint administrator. So SharePoint is a --       16   conversation, what is your general recollection?
   17   it's a Microsoft product that, you know, helps out    17      A I don't remember, I should say, having
   18   with file sharing. That's about all my limited        18   any conversation. I don't remember.
   19   knowledge is. We made great use of that at HCV --     19      Q You don't have any recollection of
   20   in the HCV program. As you can imagine there was      20   finding out from Ms. Burns how the back and forth
   21   a lot of paper always going back and forth. And       21   with Pangea had concluded?
   22   we tried to have as much of our records stored        22      A I don't remember.
                                                    Page 47                                                     Page 49
    1   electronically as possible, so we needed a way to      1      Q Do you recall ever being asked by
    2   share that. So hence we used SharePoint, and           2   Ms. Burns whether the review should continue
    3   Russell was our sort of, again, administrator of       3   further or be ended?
    4   that SharePoint site.                                  4      A No, I don't remember.
    5      Q So would it be fair to say that he would          5      Q Do you recall that CHA had an
    6   extract data for you from SharePoint?                  6   administrative plan for the housing choice voucher
    7      A He never extracted data for me                    7   program?
    8   personally from SharePoint, so I can't comment on      8      A Yes.
    9   that.                                                  9      Q And is the administrative plan a program
   10      Q Well, what did you understand that he            10   requirement?
   11   did as the administrator of the SharePoint system?    11          MR. KUMAR: Objection to form. You may
   12      A He was sort of making sure that data was         12   answer.
   13   organized well -- again, not my area of expertise,    13          THE WITNESS: It is -- yes. HUD -- I'm
   14   right, administering the SharePoint site. So I'm      14   interpreting that to mean is it required by HUD.
   15   not exactly sure what he did on a day-to-day          15   And I would say, yes, it is required that a housing
   16   basis, but making sure that information was           16   authority have an administrative plan that outlines
   17   organized and that everyone who needed to could       17   a policy's rules, et cetera, for the program.
   18   access it.                                            18   BY MR. GORDON:
   19      Q Why would he have been looking at data           19      Q Did CHA prepare such a program annually?
   20   provided by Pangea?                                   20      A Plan. Yes. We have our administrative
   21          MR. FITZSIMMONS: Objection to form and         21   plan. I don't know that we prepared it annually,
   22   foundation. You may answer.                           22   like we reviewed it, and if we were going to make

                                                                                                  13 (Pages 46 - 49)
                                             Veritext Legal Solutions
  www.veritext.com                                                                                     888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 15 of 34 PageID #:1546


                                                    Page 50                                                     Page 52
    1   changes, we would bring those. There was a whole       1   Exhibit 55. Ms. Ludwig, do you recognize this
    2   process for how you were going to do changes to        2   exhibit?
    3   the plan. So we reviewed it. I don't know that         3       A Yes.
    4   we made -- maybe we did -- I don't know if we made     4       Q What is it?
    5   changes every year or not, though.                     5       A It is a -- it looks like an excerpt from
    6       Q Who was responsible for reviewing the            6   the CHA's administrative plan.
    7   administrative plan and updating it?                   7       Q For the --
    8       A I don't remember like specifically who's         8       A Housing choice voucher program.
    9   responsibility that was. There were let's of           9       Q And this is the 2015 plan?
   10   people who would provide suggestions about things     10       A Yes.
   11   that we might need to update in the plan. But I       11       Q And you say it looks like an excerpt.
   12   don't recall like who the one specific person, you    12   Is this the entire plan?
   13   know, that was responsible for making those -- all    13       A I remember the entire plan being much
   14   those changes.                                        14   longer than this, but I don't know.
   15       Q What was your role with respect to the          15       Q Okay.
   16   administrative plan?                                  16       A I haven't looked through the whole
   17       A I would say kind of high level reviewing        17   thing.
   18   changes -- you know, suggesting changes and then      18       Q All right. Now let me direct your
   19   shepherding -- again, there was a whole process       19   attention, if I may, to page 14-4?
   20   for how that had to get approved, those changes       20       A 14-4, yes.
   21   had to get approved. And so sort of shepherding       21       Q And take a minute and read through that,
   22   it through the process was my role.                   22   if you would. Have you had a chance to review it?
                                                    Page 51                                                     Page 53
    1       Q And what was the process for approving           1       A One second. I just want to read the
    2   any changes to the plan after you had reviewed it?     2   last section.
    3       A I don't remember all the individual              3       Q Sure.
    4   steps. I believe we had to get public comment and      4       A Okay. Yup.
    5   board approval. There may have been more               5       Q Now, page 14-4 deals with the
    6   involved. But those are the two sort of things         6   investigating errors and program abuse, correct?
    7   that I remember.                                       7       A Correct.
    8       Q Do you recall ever going through that            8       Q Would it be fair to say that the -- what
    9   process while you were at CHA?                         9   CHA did in 2015 with Pangea was to investigate
   10       A Making changes to the administrative            10   whether there was -- had been any program abuse?
   11   plan? Yes.                                            11       A I would have thought of it as a review
   12       Q And do you recall doing it on more than         12   more than an investigation.
   13   one occasion?                                         13       Q Why is that?
   14       A All a bit of a blur. I don't remember.          14       A Because we just wanted to understand
   15   No. I mean, probably -- I can't say. I remember       15   all -- you know, review all the information before
   16   going through it. I don't know how many times I       16   us to kind of understand better what direction we
   17   would have gone through it.                           17   were going to head in.
   18           MR. GORDON: Is this a convenient time for     18       Q If in fact Pangea was charging more for
   19   a five-minute break.                                  19   assisted units than for comparable unassisted
   20           (Whereupon, a brief recess was taken.)        20   units in the same building, would that in your
   21   BY MR. GORDON:                                        21   mind constitute program abuse?
   22       Q Ms. Ludwig, let me show you Plaintiff's         22       A Yes.

                                                                                                  14 (Pages 50 - 53)
                                             Veritext Legal Solutions
  www.veritext.com                                                                                     888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 16 of 34 PageID #:1547


                                                     Page 54                                                    Page 56
    1      Q And if the -- did you understand that              1   with respect to Pangea allegedly charging more for
    2   there was a specific complaint that had been            2   assisted units than for comparable unassisted
    3   received by CHA alleging that Pangea had done           3   units?
    4   this?                                                   4      A I don't know either way.
    5          MR. KUMAR: Objection to form.                    5      Q Under this policy, if an investigation
    6          THE WITNESS: I didn't know of a specific         6   had occurred, would you expect CHA to have
    7   complaint when Cheryl and I talked about it. I knew     7   prepared a written report of its conclusions?
    8   there were complaints or -- you know, a complaint or    8      A I don't know. I don't know if -- again,
    9   complaints. I didn't know -- or at least I don't        9   without reviewing the rest of the administrative
   10   remember the specific nature of any of those           10   plan and understanding all that, I don't know if a
   11   complaints. It was more that, hey, we've got this      11   written report would have been created.
   12   concern.                                               12      Q Do you recall during your tenure at CHA
   13   BY MR. GORDON:                                         13   a written report ever being prepared regarding an
   14      Q And did you discuss with Ms. Burns                14   investigation of a landlord?
   15   whether that concern was well founded enough to        15          MR. KUMAR: Objection. Foundation. You
   16   make a demand for information from Pangea?             16   may go ahead.
   17      A I don't remember.                                 17          THE WITNESS: Can you repeat it?
   18      Q What would you consider an investigation          18   BY MR. GORDON:
   19   as opposed to a review?                                19      Q Sure. During your tenure with CHA do
   20      A I don't remember. I feel like there               20   you recall a written report being prepared
   21   were probably -- at the time we had sort of            21   regarding an investigation of a landlord?
   22   different ways we -- what's the word I'm looking       22      A I don't remember.
                                                     Page 55                                                    Page 57
    1   for -- categorized things. I don't remember those       1      Q Directing your attention to the last
    2   off the top of my head. Again, right now, I kind        2   part of that page dealing with consideration of
    3   of remember this and think of it as a review; but       3   remedies, it provides that in the case of
    4   I don't -- I don't know what the specific --            4   owner-caused errors or program abuse, the CHA will
    5   that's just what I'm remembering. I don't               5   take into consideration, one, the seriousness of
    6   remember sort of what made one a review versus an       6   the offense; two, the length of time since the
    7   investigation.                                          7   violation has occurred; and three the effects of a
    8       Q Do you think that the review, as you              8   particular remedy on the family living in the
    9   recall it, that was conducted by CHA of Pangea          9   unit.
   10   falls under the section of the administrative          10          Do you see that?
   11   plan?                                                  11      A Yes.
   12       A I've been away from this for a while             12      Q Do you recall ever being involved in
   13   that I don't want to comment on this. So yeah, I       13   considering what remedy should be applied to a
   14   don't know.                                            14   landlord in a particular case?
   15       Q Now, the administrative plan provides,           15      A No. Not off the top of my head, no. I
   16   does it not, that for each investigation the CHA       16   don't recall.
   17   will determine whether an error or program abuse       17      Q Do you recall that -- these issues ever
   18   has occurred; is that right?                           18   being discussed with respect to Pangea?
   19       A That is what the administrative plan             19      A No.
   20   says.                                                  20          MR. GORDON: I have no further questions.
   21       Q To your knowledge did CHA ever determine         21          MR. KUMAR: Counsel?
   22   whether an error of program abuse had occurred         22          MR. FITZSIMMONS: Let me make one phone

                                                                                                  15 (Pages 54 - 57)
                                              Veritext Legal Solutions
  www.veritext.com                                                                                     888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 17 of 34 PageID #:1548


                                                   Page 58                                                                    Page 60
    1 call. But I don't think I'm going to have any.          1                   Veritext Legal Solutions
                                                                                    1100 Superior Ave
    2 Maybe one or two.                                       2                       Suite 1820
    3       (Brief pause.)                                                        Cleveland, Ohio 44114
    4       MR. FITZSIMMONS: I have no questions.             3                    Phone: 216-523-1313
                                                              4   December 22, 2022
    5       MR. KUMAR: We will reserve signature.
                                                              5   To: Sunil Kumar, Esq.
    6       (Whereupon, at 11:38 a.m., the                    6   Case Name: Muhawi, Antoni v. Pangea Equity Partners, et al.
    7       deposition of KATHRYN LUDWIG was                  7   Veritext Reference Number: 5603938
                                                              8   Witness: Kathryn Ludwig          Deposition Date: 12/6/2022
    8       concluded.)
                                                              9   Dear Sir/Madam:
    9              *****                                     10   Enclosed please find a deposition transcript. Please have the witness
   10                                                        11   review the transcript and note any changes or corrections on the
                                                             12   included errata sheet, indicating the page, line number, change, and
   11
                                                             13   the reason for the change. Have the witness’ signature notarized and
   12                                                        14   forward the completed page(s) back to us at the Production address
   13                                                             shown
                                                             15
   14
                                                                  above, or email to production-midwest@veritext.com.
   15                                                        16
   16                                                             If the errata is not returned within thirty days of your receipt of
   17                                                        17
                                                                  this letter, the reading and signing will be deemed waived.
   18                                                        18
   19                                                           Sincerely,
   20                                                        19
                                                             20 Production Department
   21                                                        21
   22                                                        22 NO NOTARY REQUIRED IN CA

                                                   Page 59                                                                      Page 61
                                                              1          DEPOSITION REVIEW
    1           CERTIFICATE OF NOTARY PUBLIC                            CERTIFICATION OF WITNESS
    2          I, CONSTANCE HUNT RHODES, the officer          2
                                                                      ASSIGNMENT REFERENCE NO: 5603938
    3   before whom the foregoing deposition was taken, do    3       CASE NAME: Muhawi, Antoni v. Pangea Equity Partners, et al.
    4   hereby certify that the witness whose testimony               DATE OF DEPOSITION: 12/6/2022
                                                              4       WITNESS' NAME: Kathryn Ludwig
    5   appears in the foregoing deposition was duly sworn    5       In accordance with the Rules of Civil
                                                                  Procedure, I have read the entire transcript of
    6   by me; that the testimony of said witness was         6   my testimony or it has been read to me.
    7   taken by me in stenotypy and thereafter reduced to    7       I have made no changes to the testimony
                                                                  as transcribed by the court reporter.
    8   typewriting under my direction; that said             8
    9   deposition is a true record of the testimony given      _______________           ________________________
                                                              9 Date              Kathryn Ludwig
   10   by said witness; that I am neither counsel for,      10     Sworn to and subscribed before me, a
                                                                Notary Public in and for the State and County,
   11   related to, nor employed by any of the parties to    11 the referenced witness did personally appear
   12   the action in which this deposition was taken; and      and acknowledge that:
                                                             12
   13   further, that I am not a relative or employee of            They have read the transcript;
   14   any attorney or counsel employed by the parties      13     They signed the foregoing Sworn
                                                                        Statement; and
   15   thereto, nor financially or otherwise interested     14     Their execution of this Statement is of
                                                                        their free act and deed.
   16   in the outcome of the action.                        15
   17                                                               I have affixed my name and official seal
                                                             16
   18               <%13573,Signature%>                         this ______ day of_____________________, 20____.
                      CONSTANCE HUNT RHODES                  17
                                                                        ___________________________________
   19               Notary Public in and for the             18         Notary Public
                                                             19         ___________________________________
                      District of Columbia                              Commission Expiration Date
   20                                                        20
                                                             21
      My commission expires:                                 22
   21 January 14, 2023                                       23
                                                             24
   22                                                        25

                                                                                                             16 (Pages 58 - 61)
                                            Veritext Legal Solutions
  www.veritext.com                                                                                                  888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 18 of 34 PageID #:1549


                                                                           Page 62
    1          DEPOSITION REVIEW
              CERTIFICATION OF WITNESS
    2
            ASSIGNMENT REFERENCE NO: 5603938
    3       CASE NAME: Muhawi, Antoni v. Pangea Equity Partners, et al.
            DATE OF DEPOSITION: 12/6/2022
    4       WITNESS' NAME: Kathryn Ludwig
    5       In accordance with the Rules of Civil
        Procedure, I have read the entire transcript of
    6   my testimony or it has been read to me.
    7       I have listed my changes on the attached
        Errata Sheet, listing page and line numbers as
    8   well as the reason(s) for the change(s).
    9       I request that these changes be entered
        as part of the record of my testimony.
   10
          I have executed the Errata Sheet, as well
   11 as this Certificate, and request and authorize
      that both be appended to the transcript of my
   12 testimony and be incorporated therein.
   13 _______________           ________________________
      Date              Kathryn Ludwig
   14
          Sworn to and subscribed before me, a
   15 Notary Public in and for the State and County,
      the referenced witness did personally appear
   16 and acknowledge that:
   17     They have read the transcript;
          They have listed all of their corrections
   18         in the appended Errata Sheet;
          They signed the foregoing Sworn
   19         Statement; and
          Their execution of this Statement is of
   20         their free act and deed.
   21     I have affixed my name and official seal
   22 this ______ day of_____________________, 20____.
   23         ___________________________________
              Notary Public
   24
              ___________________________________
   25         Commission Expiration Date

                                                       Page 63
    1            ERRATA SHEET
             VERITEXT LEGAL SOLUTIONS MIDWEST
    2          ASSIGNMENT NO: 5603938
    3   PAGE/LINE(S) /    CHANGE       /REASON
    4   ___________________________________________________
    5   ___________________________________________________
    6   ___________________________________________________
    7   ___________________________________________________
    8   ___________________________________________________
    9   ___________________________________________________
   10   ___________________________________________________
   11   ___________________________________________________
   12   ___________________________________________________
   13   ___________________________________________________
   14   ___________________________________________________
   15   ___________________________________________________
   16   ___________________________________________________
   17   ___________________________________________________
   18   ___________________________________________________
   19
      _______________     ________________________
   20 Date          Kathryn Ludwig
   21 SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
   22 DAY OF ________________________, 20______ .
   23       ___________________________________
            Notary Public
   24
            ___________________________________
   25       Commission Expiration Date

                                                                                                17 (Pages 62 - 63)
                                                                     Veritext Legal Solutions
  www.veritext.com                                                                                  888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 19 of 34 PageID #:1550


 [& - annually]                                                               Page 1

          &            2014 8:14,15                     7   administration
  & 1:14 2:11          2015 29:2 39:2    7/23/15 3:10         7:3,16
                         46:5 48:8 52:9  716 2:7            administrative
         0
                         53:9                                 3:13 7:11 49:6,9
  02022 1:5                                      8
                       2018 8:19 18:18                        49:16,20 50:7,16
         1             202 2:13          800 1:14 2:11        51:10 52:6
                       2022 1:12 60:4    848-1710 2:7         55:10,15,19 56:9
  10 33:10
                       2023 59:21        8:31 33:3          administratively
  100 2:6
                       216-523-1313      8:42 33:18           18:7
  10:00 1:13
  11/2/15 3:11           60:3                    9          administrator
  1100 1:15 2:12       22 60:4           90 39:1              10:19 46:16
    60:1               26 3:11 46:2      955-3000 2:13        47:3,11
  11:38 58:6           2nd 46:5          99 6:3             advises 46:7
  12/6/2022 60:8                3                a          affixed 61:15
    61:3 62:3                                                 62:21
                       35 3:6,16 33:8    a.m. 1:13 33:3
  12th 2:16                                                 ago 43:11
                       38 3:7              58:6
  13 3:10 27:2                                              agree 5:2
                                4        able 38:5          agreeable 5:8
    31:6
                       4 3:3             abuse 53:6,10,21 agreed 25:20
  13573 59:18
                       4/16/15 3:6,16      55:17,22 57:4    ahead 56:16
  14 59:21
                       40,000 16:6       acceptable  5:13   al 1:6 60:6 61:3
  14-4 52:19,20
                       44114 60:2        access  47:18        62:3
    53:5
                                5        acknowledge        albeit 24:20
  140 2:5
                                           61:11 62:16      allegation 41:10
  14202 2:6            55 3:12 52:1      acronyms 4:21      allegedly 56:1
  15th 39:2            5603938 60:7      act 19:4 61:14     alleging 54:3
  178 31:8               61:2 62:2 63:2    62:20            allowing 37:16
  17th 1:14 2:11       59 35:16,19       action 28:10         37:16
  18 1:5                        6          43:18,21,22 44:6 alvarez 11:18
  1820 60:2
                       6 1:12              59:12,16         amount 30:7
  1:46 39:2
                       6/15/15 3:7       added 44:13          31:4
  1taken 26:5
                       60 3:6 35:7,10,17 adding 44:14       analysis 37:17
           2             35:19 36:3      addition 20:14     analyze 30:10
  20 61:16 62:22       60605 2:17          23:4               44:20
    63:22              61 2:16 3:7       additional 32:4    annoying 34:3
  20006 1:15 2:12        38:16,21 44:8   address 60:14      annually 49:19
  2001 5:21 6:11                         administering        49:21
                                           47:14

                                 Veritext Legal Solutions
  www.veritext.com                                                      888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 20 of 34 PageID #:1551


 [answer - certification]                                                     Page 2

  answer 10:22         assistance 32:19  ballpark 15:21          building 25:16
    26:7 40:18         assistant 17:8      16:16                  41:12 53:20
    47:22 49:12          18:4            based 43:15             buren 2:16
  answering 18:8       assisted 24:16    basically 33:20         burns 3:6,7,11
  antoni 1:3 60:6        41:11 53:19       39:21                  17:7,11 25:9
    61:3 62:3            56:2            basis 47:16              29:6,10,13,17
  anybody 38:3         attached 3:22     behalf 2:3,9             34:8,10 35:14
  appear 61:11           62:7            believe 22:21            36:5,18 37:3,22
    62:15              attend 15:9,9,11    23:2 26:8 27:20        39:1,7,13 40:4
  appears 27:6           22:21             32:13,16 35:4          44:8,22 46:4,7
    31:9 59:5          attended 23:2       40:4 51:4              48:5,11,20 49:2
  appended 62:11       attention 24:22   benefit 29:22            54:14
    62:18                25:1,5,10 27:3    34:15                         c
  applied 57:13          31:4 33:9 35:1,3better 14:2
                                                                 c 2:1 3:1 4:1
  apply 8:3 14:10        35:8 38:22 44:7   53:16
                                                                 ca 60:22
  appointed 15:11        46:3 52:19 57:1 beyond 5:16
                                                                 call 58:1
  appreciating         attorney 20:3     big 13:9,13
                                                                 called 4:4 26:14
    25:3                 59:14           biggest 13:16
                                                                   42:14
  apprised 29:14       attorneys 20:5      14:14 16:19
                                                                 calls 18:8 41:19
  approval 51:5        authority 2:16    bit 15:5 51:14
                                                                 capacities 6:13
  approved 50:20         3:12 5:3 6:16,19blur 51:14
                                                                 career 7:20
    50:21                49:16           board 51:5
                                                                 case 1:4 5:11
  approving 51:1       authorize 62:11   bottom 27:4
                                                                   20:6 25:13 57:3
  approximately        available 26:4      31:8,10 38:22
                                                                   57:14 60:6 61:3
    8:13 15:20,21      ave 60:1          break 51:19
                                                                   62:3
    16:13 25:4         avoid 4:18        brenda 27:13
                                                                 cases 24:13 42:2
  april 29:2           aware 24:18       brief 13:6 51:20
                                                                   44:3
  area 17:11,16          28:19             58:3
                                                                 categorized 55:1
    18:10 47:13                 b        bring 42:9 50:1
                                                                 category 21:19
  areas 18:3                             bringing 25:10
                       ba 6:1                                    caused 57:4
  arrived 33:1                           brings 19:3
                       bachelor's 6:1                            ceo 9:6,8 10:8
  arts 6:1                               broader 10:15
                       back 8:2 14:12                            certainty 22:4
  aside 48:15                              10:16
                        19:13 30:7,11,17                           23:15
  asked 20:8 25:22                       brought 24:22
                        30:21 32:7,10                            certificate 59:1
    49:1                                   25:1,5
                        37:9 44:7 45:6                             62:11
  asking 42:10                           budget 6:9
                        45:17 46:21                              certification
  assignment 61:2                        buffalo 2:6
                        48:20 60:14                                61:1 62:1
    62:2 63:2
                                 Veritext Legal Solutions
  www.veritext.com                                                      888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 21 of 34 PageID #:1552


 [certify - copied]                                                           Page 3

  certify 59:4         charge 7:14            comfortable         concluded 48:21
  cetera 49:17           11:20 23:13            22:1                58:8
  cha 3:11,17 5:2      charging 24:15         coming 15:18        conclusions 56:7
    6:19 7:17 8:5,8      25:14 41:10            24:19 43:5        conducted 55:9
    8:13,17,18,20        53:18 56:1           comment 37:6        confirmed 41:17
    9:1,14,18 12:12    cheryl 3:6,7,11          47:8 51:4 55:13   connected 5:11
    13:9,14 16:5         17:6 20:8 25:2       commission          connection
    17:3 18:18           25:11,22 27:13         59:20 61:19         24:20
    19:13,19,20 20:5     27:15 28:5,9,13        62:25 63:25       consider 54:18
    20:22 22:14          28:14 31:1           commissioner        consideration
    23:5,21,22 25:20     45:10 46:12            7:2,7,8,9           57:2,5
    26:9,11 30:8,10      54:7                 commissioners       considering
    31:8 32:4,13,16    chicago 2:16,17          7:4                 18:14 57:13
    32:20 33:10          3:12 5:3,20 6:9      commitment          constance 1:18
    37:9 38:5,9 39:1     6:12,14,16,18,21       40:21               59:2,18
    39:22 40:8,12        7:20                 common 21:9,12      constitute 53:21
    41:18 42:19        chicago's 6:9            26:17             consulted 11:19
    43:13 45:6,18,21   chief 9:7,11,11        communicating       consulting 12:3
    46:11 49:5,19        9:12,17,18 10:3        12:22             contact 20:5
    51:9 53:9 54:3       10:8,13 11:7,8       comparable 22:6       45:9 48:2
    55:9,16,21 56:6      11:11,18,19            41:11 53:19       contacts 20:4
    56:12,19 57:4      choice 3:13 5:6          56:2              contained 39:21
  cha's 52:6             8:11 9:11,12,15      comparisons         continue 49:2
  cha179 27:5            9:18 10:13,15,17       37:17             contract 32:19
  chain 27:3             10:20 11:2           complaint 19:16       34:5 36:12 37:5
  chance 27:8            12:14 49:6 52:8        24:14 54:2,7,8    convenient
    31:11 39:9         choices 43:4           complaints 54:8       51:18
    52:22              city 6:9,12 7:19         54:9,11           conversation
  change 9:2,4           7:20 21:11           completed 60:14       48:14,16,18
    18:19,22 60:12     civil 61:5 62:5        compliance 41:2     conversations
    60:13 62:8 63:3    claims 19:4,9            42:9,16,19 43:2     23:6 45:5
  changed 8:7          clean 4:20               43:22             coordinating
  changes 50:1,2,5     clearly 39:11          concern 25:12         12:18
    50:14,18,18,20     cleveland 60:2           54:12,15          coordination
    51:2,10 60:11      closed 15:8            concerned 41:14       12:16
    61:7 62:7,9        columbia 59:19           41:16             copied 19:13
  changing 18:15       come 12:8 29:5         concerns 18:1         27:14,15 30:22
                         42:16
                                 Veritext Legal Solutions
  www.veritext.com                                                      888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 22 of 34 PageID #:1553


 [copies - ellen]                                                             Page 4

  copies 19:14           62:13,25 63:20       demand 54:16         discuss 24:6
  corner 27:5            63:25                department 6:13        45:13,16 54:14
  correct 9:20         dated 39:2 46:4          60:20              discussed 28:9
    10:9 20:20         david 23:9 27:14       depaul 6:2             29:6 44:9 57:18
    28:10,18 29:8      day 20:18 21:4         deposition 1:10      discussing 37:21
    34:6,9,13 39:15      27:21 32:22            3:5 4:12,22 13:5     38:2 45:20
    39:16 42:17          33:17 36:4             20:16 58:7 59:3    discussion 28:4
    44:15 48:6,9         47:15,15 61:16         59:5,9,12 60:8       28:7 46:8 48:4
    53:6,7               62:22 63:22            60:10 61:1,3         48:10
  corrections          days 60:16               62:1,3             district 1:1,1
    60:11 62:17        dc 1:15 2:12           deputy 2:15 7:2        59:19
  correspondence       deal 23:16 24:2          7:4,7,9 8:10 9:9   doing 13:18 29:7
    3:10,16 18:8       dealing 12:11            9:17,21 11:7         29:7 40:12
    20:1                 20:21 21:2,3         description            51:12
  council 14:4,11        24:9 57:2              17:14              donna 17:7 18:6
    14:17              dealings 22:9,12       detail 19:17         double 6:2
  counsel 2:15 3:3       23:22                  20:11              dozen 14:6
    4:6 5:10 57:21     deals 53:5             determine 55:17      drastic 40:15,20
    59:10,14           dealt 23:8               55:21                41:3,4,5,7
  county 61:10         dear 60:9              determined           duly 4:4 59:5
    62:15              december 1:12            42:18                       e
  couple 8:7 20:18       60:4                 different 11:15
                                                                   e 2:1,1 3:1 4:1,1
    30:14              decide 28:10             12:5,6,6,7 15:5
                                                                   earlier 20:7 23:1
  course 22:13         decided 8:1,3            15:17 18:22
                                                                   early 8:15
    28:10 38:10          19:1 37:7              29:5 32:5 35:5
                                                                   easily 37:15
  court 1:1 61:7       decision 11:3,4          42:1 54:22
                                                                   east 2:16
  created 56:11          12:17                difficult 37:13
                                                                   easy 30:9 37:13
  csv 44:18            decisions 11:5           42:22
                                                                     37:20 44:19
  cut 39:22 43:19        43:14                direct 17:2 27:3
                                                                   education 5:18
  cv 1:5               deed 61:14 62:20         33:9 34:22 35:2
                                                                   effect 8:10 10:3
  cvp 3:11,17          deemed 60:17             35:7 38:21 46:2
                                                                   effects 57:7
           d           defendant 4:6            52:18
                                                                   either 29:16
                       defendants 1:7         directing 44:7
  d 2:10 4:1                                                         44:18 56:4
                         2:9 3:3,5,15           57:1
  data 44:17 45:3                                                  electronically
                         5:10 33:8 35:7       direction 53:16
   47:6,7,12,19                                                      47:1
                         35:10 38:16,20         59:8
  date 1:12 60:8                                                   ellen 10:1,4
                       degree 5:19,22         directly 9:8 17:8
   61:3,9,19 62:3
                         6:6                    45:13
                                 Veritext Legal Solutions
  www.veritext.com                                                       888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 23 of 34 PageID #:1554


 [email - found]                                                              Page 5

  email 3:6,7,10       error 55:17,22           35:17 36:3        financially 59:15
    3:11,16 19:22      errors 53:6 57:4         38:16,21 44:8     find 60:10
    27:3,6,10,13,15    esq 2:20 60:5            46:2,4 52:1,2     finding 48:20
    31:9,13,18,19      esquire 2:4,4,10       exhibits 3:5,9,15   fine 44:10
    32:22 33:11,14       2:10,15                3:22 19:14        first 4:4 7:7 9:17
    34:7,12,15 35:1    et 1:6 49:17 60:6      expect 56:6            12:12 19:5
    35:8,14 36:2,3       61:3 62:3            expecting 35:21        20:21 22:8
    38:22 39:1,6,13    evans 2:20             expertise 47:13        33:10 35:1 36:9
    39:14,20 44:8,10   evening 15:16          expiration 61:19       38:22 39:1 46:3
    44:22 46:3,7       events 15:7,15           62:25 63:25       fitzsimmons 2:4
    48:4 60:15         eventually 6:15        expires 59:20          4:17 13:3 35:15
  emails 19:12         exact 8:9 16:11        explaining 32:3        35:20 41:19
    22:15 25:7           46:14                explore 19:1           42:7 43:8 47:21
    29:22 30:1,22      exactly 6:17 8:11      extract 47:6           57:22 58:4
  employed 59:11         9:6 10:2 14:5        extracted 47:7      five 51:19
    59:14                16:7 17:14 42:3               f          floor 2:16
  employee 46:11         47:15                                    flusky 2:4
                                              fact 53:18
    59:13              examination 3:2                            focused 11:1
                                              facts 25:22
  employment 6:5         4:6                                      folks 11:8,10,20
                                              fair 7:10 9:13
  enclosed 60:10       examined 4:5                               follow 45:4
                                                 10:18 21:14,21
  ended 49:3           example 12:19                              following 18:1
                                                 47:5 53:8
  engagement             13:2                                        40:22 45:2
                                              fairly 23:2 40:15
    12:21 18:1         examples 12:9                              follows 4:5
                                              falls 55:10
  english 6:2          excerpt 52:5,11                            foregoing 59:3,5
                                              false 19:4
  enjoyed 7:21         exchanged 22:15                               61:13 62:18
                                              familiar 5:1
    18:20              exclamation                                form 10:21 26:6
                                              family 57:8
  ensure 41:2            36:14                                       38:6 40:17 43:9
                                              far 21:22 43:18
  entered 62:9         exclude 43:14                                 47:21 49:11
                                              feedback 14:8
  enters 32:20         excuse 9:12                                   54:5
                                                 15:17 25:17
  entire 9:14 10:19    executed 62:10                             format 30:9
                                              feel 22:1 54:20
    52:12,13 61:5      execution 61:14                               37:11,13 44:18
                                              field 17:8 18:10
    62:5                 62:19                                    forth 15:19 30:7
                                              figure 16:16
  entities 5:11        executive 11:6                                30:12,17,21 37:9
                                                 37:4
  equity 1:6 60:6        11:11,12 12:1                               45:6,17 46:21
                                              figures 15:21
    61:3 62:3          exhibit 3:6,7,10                              48:20
                                              file 46:18
  errata 60:12,16        3:11,12,16 27:2                          forward 60:14
                                              finance 7:3,15
    62:7,10,18 63:1      31:6,6 33:7,8,10                         found 36:11 38:6
                                                 7:16
                         35:2,7,9,10,16
                                 Veritext Legal Solutions
  www.veritext.com                                                       888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 24 of 34 PageID #:1555


 [foundation - information]                                                   Page 6

  foundation 26:6        46:21 49:22    46:20                     10:3,13,15,17,20
    47:22 56:15          50:2 51:8,16 head 14:15                  11:1,20,21 12:14
  founded 54:15          53:17 58:1     21:20 43:11               12:15 18:21
  four 6:12,18         gordon 2:10 4:7  53:17 55:2                32:19 49:6,15
    8:21,21 18:20        13:7 26:13     57:15                     52:8
  frame 25:8 48:8        35:12,18 36:1heard 8:2                  hud 49:13,14
  free 61:14 62:20       38:18 41:8 42:4
                                      held 7:10 15:6             huge 31:4
  frequently 24:7        42:12 43:12    15:13,14                 huh 33:2,4
  front 31:6             48:3 49:18   help 25:7                  humphrey 17:7
  further 49:3           51:18,21 54:13
                                      helped 18:6,12              17:21
    57:20 59:13          56:18 57:20    18:12,13                 hunt 59:2,18
  fy2015 3:12          graduated 5:21 helping 18:7               hypothetical
           g             6:3,7        helps 46:17                 41:20
                       great 46:19    hey 20:11 41:5                     i
  g 4:1
                       grill 2:10       54:11
  general 2:15                                                   idea 16:2
                       group 5:11 14:3high 19:8 50:17
    23:22 24:3 42:5                                              identification
                         14:6,10,18 15:3
                                      higher 11:6
    44:5 48:16                                                      35:7,11 38:17,20
                         15:5,6,8,10,11 24:15 25:14
  generally 8:1                                                  identifying 27:5
                         15:12        history 6:5
    29:21 30:3,6                                                 ifs 43:1
                       guess 14:1 17:6hklaw.com 2:13
    43:1                                                         illinois 1:1 2:17
                         19:8 20:17 21:1
                                      hodgson 2:5
  getting 6:5 14:5                                               imagine 46:20
                         41:3,6       hodgsonruss.c...
    29:7 38:10                                                   important 4:16
                                h       2:7
    39:12                                                        inaccurate 35:4
                                      holder 14:17
  give 12:9 16:2,16 h 1:18                                       incident 34:14
                                      holders 13:20
    20:10 25:8       half 6:18 8:21                              include 42:10
                                        14:3,7 15:22
  given 59:9           18:20                                     included 60:12
                                        26:11
  giving 29:21       hand 27:4                                   incorporated
                                      holding 14:4
  glanced 19:17      hap 34:5 36:12                                 62:12
                                      holland 1:14
  go 4:11,15 5:2       37:4                                      increased 16:1,3
                                        2:11
    18:22 20:19      happening 29:14                             increasing 13:19
                                      honestly 15:7
    25:22 29:22        41:18                                     indicating 60:12
                                      hours 20:18
    56:16            happens 4:19                                individual 51:3
                                      households 16:7
  going 5:5 12:10    hard 41:6                                   individuals 23:8
                                      housing 2:16
    12:13,21 14:8,12 harris 6:8                                  industry 26:17
                                        3:12,13 5:3,6
    20:12 29:20      hcv 3:12 5:7                                information
                                        6:14,16,18 7:19
    33:7 35:5 38:19    11:9 25:14,15                                26:4,9,11,14,15
                                        7:21,22 8:10
    38:21 41:1 46:1    26:11 46:12,19                               26:21 27:16
                                        9:11,12,15,18
                                 Veritext Legal Solutions
  www.veritext.com                                                      888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 25 of 34 PageID #:1556


 [information - list]                                                         Page 7

    28:20 29:7,18         57:17                 14:6,12 17:4,5   57:14
    30:5,8 32:4,6,8     issuing 13:17           17:13,17 18:14landlords 14:22
    32:14 37:11,15              j               18:15,16 19:15   15:3 16:13,20
    38:6,11 40:1,2                              19:16 21:11      18:2 20:22
                        jaffe 23:9
    45:8 47:16                                  22:4 23:13 24:4  21:15,17 23:17
                        jaffe's 23:11
    53:15 54:16                                 24:4,6,7 25:12   40:22 43:14,18
                        jaffee 27:14
  initially 10:1                                25:16,16,19,20   43:22 44:6
                          32:22 33:21
  initiative 13:21                              27:22 28:2 29:3
                                                              large 21:10,15
                        jaffee's 34:11
  ins 44:4                                      29:3 34:3,17     21:17
                        january 59:21
  insofar 32:11                                 37:6,7 39:18,18
                                                              largest 21:22
                        jean 9:8
  inspector 23:22                               39:19 40:19,20lawsuit 19:2,6
                        jimenez 27:14
    24:3                                        41:13,14,21   lead 26:1 31:1,3
                        job 17:14
  interact 23:3                                 42:10 43:3,20,21
                                                              learning 29:16
                        joined 8:13
  interested 59:15                              43:21 45:10,11lease 13:19
                        jones 9:8
  interpreted                                   46:17 48:2       23:14
                        jose 11:18
    42:17                                       49:21 50:3,4,13
                                                              leaseholders
                        june 39:2
  interpreting                                  50:18 51:16      26:12
    31:21 49:14                  k              52:14 53:15   leave 18:18
  interrupt 13:4        karen 17:7,22           54:6,8,9 55:4,14
                                                              led 7:17
  investigate 53:9      kathryn 1:10 3:6        56:4,8,8,10   left 8:17,18 10:4
  investigating           3:7,11 4:3,10       knowledge 19:6     16:5 19:20
    53:6                  58:7 60:8 61:4,9      21:10,12 46:19legal 1:21 4:10
  investigation           62:4,13 63:20         55:21            11:19 60:1 63:1
    48:11 53:12         katie 4:11 46:8       krusha 2:20     lend 37:15
    54:18 55:7,16       keep 29:13            kumar 2:15      length 57:6
    56:5,14,21          kept 44:19              10:21 20:4 26:6
                                                              letter 60:17
  involved 27:17        kind 13:18 14:13        40:17 43:9    letting 25:11
    30:21 38:14           18:9 19:17            49:11 54:5    level 11:6,7,8
    51:6 57:12            20:11 50:17           56:15 57:21      19:8 50:17
  involvement             53:16 55:2            58:5 60:5     library 6:15,21
    31:2                kinds 12:6 13:1                l         7:5,12,21
  involves 19:3           42:2                                limited 14:13
                                           landlord 15:5,7
  issue 24:19,21        knew 21:4,7,22                           31:2 46:18
                                             15:9,12 16:12
    28:9 30:3 41:9        54:7                                line 60:12 62:7
                                             21:4,7,10,12,22
    43:5 45:13,16       knight 1:14 2:11                         63:3
                                             22:5,22,22 32:20
  issues 7:19,21        know 8:2,7                            list 12:11,13,14
                                             40:10 42:9,15,18
    12:3,6,7,20           11:12,16 12:5,10                       13:10
                                             43:6 56:14,21
    15:17 24:6,9          12:11 13:22
                                 Veritext Legal Solutions
  www.veritext.com                                                      888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 26 of 34 PageID #:1557


 [listed - o]                                                                 Page 8

  listed 34:4 62:7      madam 60:9            members 11:22       nature 44:1
     62:17              main 17:6 18:2         12:1                 54:10
  listing 62:7           45:10,11 48:2        memories 24:12      near 28:1
  little 8:20           majored 6:2           mentioned 14:16     need 33:5 50:11
  living 57:8           maker 11:3,4           16:1 20:15         needed 41:1 47:1
  llp 1:14               12:17                met 14:7 15:4         47:17
  location 1:14         making 38:14           20:17              neither 59:10
  long 24:11 30:12       40:9 43:14           michael 2:10        networking 15:7
     43:11               47:12,16 50:13       microsoft 46:17       15:15 23:1
  longer 42:11           51:10                middle 33:11        never 47:7
     43:3 52:14         mark 27:5              35:8 36:3          new 2:6 15:18
  look 25:7,21          marked 3:5,9,15       midwest 60:15         39:22
     27:6 31:5,6,11      31:8 33:10 35:6       63:1               non 25:15 26:11
     32:21               35:11 38:17,20       mike 35:19          noncompliance
  looked 19:7,10         39:1                 mind 53:21            43:15 44:2
     19:12 31:7         market 25:14          minute 51:19        nonsubsidized
     52:16               32:11                 52:21                25:15
  looking 15:20         marking 35:17         minutes 33:20       northern 1:1
     30:3 34:11         master's 5:19          36:8               northwest 2:11
     47:19 54:22         6:5                  missed 7:22         notarized 60:13
  looks 52:5,11         materials 19:7        months 30:15        notary 1:18 59:1
  lot 11:15,19           19:10,19 20:9,14     motivation            59:19 60:22
     12:16 17:22        matter 25:21           39:19                61:10,18 62:15
     46:21               27:2 37:2            mouth 37:12           62:23 63:23
  lots 12:5,7 42:22     matters 11:9          move 7:17 8:3       note 60:11
  ludwig 1:10 3:6        18:14,17             moved 6:15 42:8     notebooks 20:9
     3:7,12 4:8,10      mean 11:14 12:5       muhawi 1:3 19:4     notes 20:9,12
     5:17 13:8 19:2      12:7 21:1 22:10       60:6 61:3 62:3     november 46:5
     33:8 35:13 36:2     26:9 30:10           multi 27:2            48:8
     36:4 37:8 38:19     39:11 42:18                  n           number 13:20
     46:1 51:22 52:1     49:14 51:15                                16:11 35:10
                                              n 2:1 3:1,1 4:1
     58:7 60:8 61:4,9   meet 15:16 24:5                             38:16 60:7,12
                                              name 4:9,10
     62:4,13 63:20       24:7                                     numbers 62:7
                                               14:5 60:6 61:3,4
  ludwigh 4:3           meeting 26:19                             nw 1:14
                                               61:15 62:3,4,21
           m             27:17,20 28:3,6                                  o
                                              names 12:2
                         28:14 36:19
  ma'am 19:5,11                                23:10              o 3:1 4:1
                        meetings 22:16
   32:1
                         22:18 23:4
                                 Veritext Legal Solutions
  www.veritext.com                                                      888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 27 of 34 PageID #:1558


 [objection - possible]                                                       Page 9

  objection 10:21         opening 12:12        30:8,9 32:2,7      personally 21:3
    26:6 40:17            openings 8:3         36:22 37:10,10       23:18 40:11
    41:19 42:7 43:8       operation 11:21      37:15 38:6,10        47:8 61:11
    43:9 47:21              17:16,19           39:15,21 40:1,10     62:15
    49:11 54:5            opinion 41:3         41:10 43:7         pfitzsimmons
    56:15                 opportunities        44:11,19 45:3,7      2:7
  obtain 38:5               19:1               45:9,12,14,20      phone 57:22
  obtaining 45:7          opposed 54:19        47:20 48:5,21        60:3
  obviously 31:18         organization         53:9,18 54:3,16    place 42:1
  occasion 51:13            14:21              55:9 56:1 57:18    plaintiff 1:4 2:3
  occurred 27:20          organized 47:13      60:6 61:3 62:3     plaintiff's 3:9
    55:18,22 56:6           47:17            pangea's 30:4          27:1 46:2 51:22
    57:7                  outcome 30:16      paper 46:21          plan 3:13 49:6,9
  october 8:19              59:16            part 57:2 62:9         49:16,20,21 50:3
  offense 57:6            outlined 32:5      participate            50:7,11,16 51:2
  office 6:10 23:22       outlines 49:16       42:11 43:3           51:11 52:6,9,12
    24:3                  outreach 17:22     participation          52:13 55:11,15
  officer 9:11,12         outs 44:4            42:13                55:19 56:10
    10:4 11:11,19         owner 57:4         particular 18:5      please 4:8 5:17
    59:2                          p            32:10 57:8,14        15:2 17:1 39:4
  offices 23:5                               parties 59:11,14       60:10,10
                          p 2:1,1 4:1
  official 61:15                             partners 1:6         pleased 36:16
                          p.m. 39:2
    62:21                                      60:6 61:3 62:3     point 9:5 10:4
                          page 3:2 27:2,4,7
  oh 11:14                                   patrick 2:4            14:9 20:7 22:16
                            31:7,10 33:10,11
  ohio 60:2                                  pause 13:6 58:3        29:22 45:8,11,11
                            35:2,22 39:1
  oig 24:3,10,15,20                          paying 31:4            48:2
                            46:4 52:19 53:5
  okay 5:22 6:20                             payment 32:19        policies 18:15
                            57:2 60:12,14
    9:13 10:7 17:1                           pdfs 44:19           policy 5:20 12:6
                            62:7 63:3
    23:7 28:3 29:20                          pearl 2:5              18:13,17 56:5
                          pangea 1:6 2:20
    30:2,20 31:17                            people 11:15         policy's 49:17
                            3:7,11,17 5:12
    36:7 39:4 40:5,7                           12:4 13:4 14:10    political 6:3
                            5:13 19:4 20:22
    40:15 52:15                                14:17,19 40:21     population
                            21:7,19 22:9,13
    53:4                                       41:4 50:10           12:21
                            22:19,21 23:2,8
  ones 14:14 17:6                            period 10:19         position 7:1 8:5
                            23:12,16 24:15
    17:10                                      13:17                9:2 23:12
                            25:13 26:10,20
  ooh 36:11                                  person 11:18         positions 14:11
                            27:16 28:14,17
  open 12:13 13:9                              50:12              possible 40:14
                            28:21 29:18
    15:13                                                           47:1
                                  Veritext Legal Solutions
  www.veritext.com                                                      888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 28 of 34 PageID #:1559


 [possibly - reduced]                                                       Page 10

  possibly 22:3         produced 45:3         pushing 32:7,10      34:18 36:20,22
  post 5:18             product 46:17         put 21:18 37:12      37:9,18,21 38:2
  posts 7:11            production                   q             38:9 39:10 40:9
  potentially             60:14,15,20                              43:5,14,20 44:21
                                              question 19:5
    25:13               program 3:13                               45:2,19,20 48:10
                                                29:4 42:17
  preceding 31:7          5:6 8:11 9:15,19                         49:1,5 50:12
                                              questioning 4:18
  preliminaries           10:14,17,20 11:2                         51:8,12 55:9
                                              questions 29:21
    4:15 5:16             11:3 12:14,15                            56:12,20 57:12
                                                57:20 58:4
  premarked               13:10,21 14:8                            57:16,17
    35:20,21              15:22 16:14,20               r         receipt 60:16
  prep 20:20              17:16,19 20:22      r 2:1,4 4:1        received 19:22
  prepare 20:16           21:5,8,13,15,18     raised 18:1          39:12 54:3
    49:19                 23:17 42:11,14        25:12            recess 51:20
  prepared 49:21          43:4,15,20 46:12    rate 32:11 41:14 recognize 27:10
    56:7,13,20            46:20 49:7,9,17     reached 20:8         31:15 33:14
  present 2:19            49:19 52:8 53:6     reaching 12:22       35:13 36:2 39:6
    26:19 28:13,17        53:10,21 55:17      reaction 31:19       52:1
  pretty 31:2             55:22 57:4            31:20 34:11      recollecting
  previously 3:9        progressed            read 19:17 52:21     28:12
    3:15 7:18             48:12                 53:1 61:5,6,12   recollection
  primarily 18:13       project 13:19,22        62:5,6,17          14:13 28:16
    37:2                projects 12:12        reading 34:16        30:12 34:19
  primary 17:18           13:9,13               60:17              37:14 40:13
    17:20               proposed 39:20        ready 18:19,21       43:17 44:5
  principal 45:8        provide 32:3,6        really 7:22 16:17    48:16,19
  probably 7:19           38:10 50:10           23:13 40:21      recommendation
    22:16 40:6          provided 30:8         reason 21:2          25:18 26:2
    51:15 54:21           37:11 46:9            60:13 62:8 63:3 reconfigured
  procedure 61:5          47:20               reasons 32:5         14:10
    62:5                provides 55:15          37:20            reconfiguring
  proceed 25:18           57:3                recall 12:3 20:21    14:1
    42:2                public 5:20 6:14        21:17 22:2,8,12 record 4:9,20
  proceeded 29:10         6:21 11:20,21         22:17,18 23:7      5:1 35:16 59:9
  process 50:2,19         12:15 51:4 59:1       24:9,14,17,19      62:9
    50:22 51:1,9          59:19 61:10,18        25:9 28:3,13     records 46:22
  processes 42:1          62:15,23 63:23        29:10,13,16 30:4 recount 5:17 6:4
  produce 40:1          pursue 37:3             30:20 31:13      reduced 59:7
                                                32:16 34:14,16
                                 Veritext Legal Solutions
  www.veritext.com                                                      888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 29 of 34 PageID #:1560


 [refer - russell's]                                                         Page 11

  refer 5:12             38:8,12,15 39:12     requesting 27:16     reviewed 20:1
  reference 60:7         40:14 41:22          require 43:1,3         49:22 50:3 51:2
    61:2 62:2            44:3,4 45:4,5,15     required 49:14       reviewer 48:11
  referenced 61:11       45:22 46:14            49:15 60:22        reviewing 20:14
    62:15                48:13,17,18,22       requirement            50:6,17 56:9
  references 27:17       49:4 50:8 51:3,7       49:10              rhodes 1:18 59:2
    48:4                 51:14,15 52:13       requirements           59:18
  referred 5:7           54:10,17,20 55:1       43:16              right 13:11 14:5
    13:18 14:3 23:1      55:3,6 56:22         research 18:16         14:15 16:6,19
  refresh 20:1         remembering            reserve 58:5           17:10 18:7
  regarding 48:5         55:5                 resident 15:6,10       19:15 22:2,7
    56:13,21           rent 3:6,11,12,17      respect 14:22          24:13 27:4 28:8
  regs 34:4              25:14 26:15,20         50:15 56:1           32:13,17 34:22
  regular 15:7,13        27:16 28:20            57:18                35:22 36:18
    15:15                29:18 30:5 32:8      respond 36:20          37:8 39:13
  regularly 14:7         37:10 40:2 45:3      responded 36:22        40:22 41:4
    15:4 23:2            45:7,17                44:9                 42:22 44:14
  regulation 32:18     renting 26:10          responds 36:18         47:14 48:15
  related 12:20        rents 24:15            response 30:4          52:18 55:2,18
    17:15 18:13        reorganization         responsibilities     rob 2:4
    32:11 43:22          9:7                    10:14,16 18:5      role 50:15,22
    59:11              repeat 56:17           responsibility       roll 3:12 26:15
  relative 59:13       report 9:22 46:8         17:12,17,18,20       26:20 27:16
  remedies 57:3          56:7,11,13,20          18:3,11 50:9         28:20 29:18
  remedy 57:8,13       reported 1:18          responsible 50:6       30:5 32:8 40:2
  remember 6:16          9:8 10:1,10 17:8       50:13                45:3,7
    8:8,9,11 9:6       reporter 1:18          rest 56:9            rolls 3:6,11,17
    10:2,5,6 11:14       61:7                 result 44:21           37:10 45:17
    11:17 12:2         reporting 10:6,8       retain 19:19         room 13:4
    14:14 15:8,12,14   reports 17:2           returned 60:16       rules 40:22 41:6
    16:4,7,11,15,17    representing           review 25:21,21        49:17 61:5 62:5
    16:21 17:4,10,13     14:19                  26:3 27:8 29:7,8   run 39:17
    22:10,11,20 23:5   request 26:20            31:9 39:4,10       running 39:14
    23:9,10 24:21        28:20 29:17            49:2 52:22         russ 2:5
    25:6,11 26:22        30:5 32:7 38:15        53:11,15 54:19     russell 46:9,10
    28:4,5,6 30:6,14     62:9,11                55:3,6,8 60:11       46:11 47:3
    30:18,19,22        requested 26:9           61:1 62:1          russell's 46:14
    31:20 37:19,20       32:4
                                 Veritext Legal Solutions
  www.veritext.com                                                       888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 30 of 34 PageID #:1561


 [s - sworn]                                                                Page 12

           s         shepherding                50:21 51:6        stopped 35:16
  s 2:1 3:1 4:1        50:19,21                 54:21 55:6        stored 46:22
    60:14 62:8,8     shorthands 4:22          speak 4:16          street 2:5,11
    63:3             show 27:1 33:7           speaking 8:1        stuff 7:22 18:21
  sahli 10:1,10        35:5,6 38:19             43:1              subscribed
  saw 8:2 19:14        46:1 51:22             speaks 31:18          61:10 62:14
  saying 22:1        shown 60:14              specific 12:2         63:21
  says 55:20         side 11:21 16:12           24:12 28:6        suggesting 42:14
  scheduling 18:8 signature 58:5                37:19 44:3          50:18
  school 6:8           59:18 60:13              48:13,15 50:12    suggestion 44:14
  science 6:3        signed 61:13               54:2,6,10 55:4      44:16
  seal 61:15 62:21     62:18                  specifically        suggestions
  second 4:21 53:1 significance                 34:18 50:8          50:10
  secondary 5:18       41:15                  specifics 30:14     suing 19:4
  section 53:2       significant 13:17          44:4              suite 1:15 2:6,12
    55:10              30:7,11 41:9           spent 6:17            60:2
  see 23:3 31:15     significantly            st 1:14             summarize
    33:1,12 57:10      16:9                   staff 11:18 37:16     31:17
  send 39:21         signing 60:17            stand 5:3           summary 32:2
  sending 34:7       similar 9:10             start 33:9          summer 6:11
    39:15 44:10,19     14:21                  started 6:7,9       sunil 2:15 20:3
  sent 20:3 33:15    simplicity 5:12            10:7 16:2,5,8       20:18 60:5
    33:17,21 34:1    sincerely 60:18            35:18             superior 60:1
    35:14 36:4,5     sir 60:9                 state 4:8 61:10     superiors 45:18
    39:7,11 44:8,22 site 47:4,14                62:15               45:21
  sept 3:12          size 22:6                statement 61:13     suppose 20:20
  seriously 40:21    skumar 2:17                61:14 62:19,19    sure 4:10,19
  seriousness 57:5 sole 12:17                 states 1:1            5:14,19 6:7 7:13
  serving 14:18,19 solutions 1:21             stenotypy 59:7        15:3 17:4 22:15
  sessions 23:1        60:1 63:1              step 40:16 42:15      26:18 29:5 38:8
  sftp 3:7           sorry 13:3 33:6          steps 26:5 38:9       40:5,7 42:3
  share 47:2 48:1      36:6                     38:12,15 42:3,5     47:12,15,16 48:1
  sharepoint 46:16 sort 12:20 13:22             51:4                53:3 56:19
    46:16 47:2,4,6,8   14:1,9 16:2            steve 13:3          switch 16:12
    47:11,14           17:15,16 21:11         steven 2:10 17:8    sworn 4:5 59:5
  sharing 46:18        22:12,18 25:17         steven.gordon         61:10,13 62:14
  sheet 60:12 62:7     26:1 40:9 43:4           2:13                62:18 63:21
    62:10,18 63:1      46:15 47:3,12
                                 Veritext Legal Solutions
  www.veritext.com                                                      888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 31 of 34 PageID #:1562


 [system - voucher]                                                           Page 13

  system 47:11          18:9,15 19:1          titles 12:2             53:14,16 54:1
         t              20:12,19 50:10        today 19:3 20:16      understanding
                        51:6 55:1             told 20:10 28:8         19:8 56:10
  t 3:1,1
                     think 4:22 5:15             29:6 35:19 37:8    undertake 13:14
  take 8:5 26:1
                        7:6,8 8:6 11:5        top 7:11 10:19        unit 57:9
    27:6 31:5 32:21
                        13:15 14:2,4,12          14:15 21:20        united 1:1
    52:21 57:5
                        15:4,12 16:10            27:7 35:1 43:10    units 24:16,16
  taken 4:12 51:20
                        17:8 19:14 22:5          46:3 55:2 57:15      26:10 39:22
    59:3,7,12
                        22:16 23:3,4,9        topics 22:20 23:6       41:11,12 53:19
  talk 15:17 28:12
                        35:16 37:19           transcribed 61:7        53:20 56:2,3
  talked 54:7
                        40:20 42:5,8          transcript 3:22       university 5:20
  talking 5:5 28:22
                        55:3,8 58:1              60:10,11 61:5,12     6:2,8
  team 11:12 12:1
                     thinking 39:14              62:5,11,17         unprompted
    18:13
                     thirds 31:10             tried 46:22             34:10
  technically
                     thirty 60:16             trigger 34:19         update 50:11
    20:19
                     thomas 17:7              true 59:9             updating 50:7
  tell 15:2 17:1,6
                        18:4                  try 4:18              usable 38:7
    25:4,9 31:21
                     thought 17:15            trying 11:14          use 37:13 46:19
  ten 36:8
                        25:19 46:15              13:15 14:12                 v
  tenants 18:2
                        53:11                    15:4
    25:14,15,15                                                     v 60:6 61:3 62:3
                     threat 39:21             turn 19:2
    32:11                                                           vague 43:17
                        40:9                  two 31:10 43:4
  tenure 9:14                                                       van 2:16
                     three 6:11 7:11             51:6 57:6 58:2
    22:14 23:21                                                     various 4:21
                        32:5 57:7             typewriting 59:8
    40:8 43:6,13                                                      6:13
                     time 1:13 7:8 8:6        typically 15:15
    56:12,19                                                        verbal 30:16
                        9:1,9 10:6 12:15               u
  term 26:17                                                        veritext 1:21
                        16:5 22:3 24:11
  terms 43:19                                 uh 33:2,4               60:1,7 63:1
                        25:8 28:1,19,22
  testified 4:5                               ultimate 11:2,4       veritext.com.
                        28:22 32:22
  testimony 59:4,6                            ultimately 9:18         60:15
                        43:11 48:8
    59:9 61:6,7 62:6                            38:5                version 35:5
                        51:18 54:21
    62:9,12                                   unassisted 24:16      versus 55:6
                        57:6
  thanks 36:19                                  41:12 53:19         violation 57:7
                     times 8:7 51:16
  thecha.org 2:17                               56:2                voucher 3:13 5:6
                     timing 35:4
  thereto 59:15                               undergraduate           8:11 9:12,15,19
                     title 8:6,7,9,12
  thing 52:17                                   5:22                  10:14,17,20 11:2
                        9:10 10:2 11:17
  things 12:7 13:1                            understand              12:14 13:10,20
                        46:14
    14:11 15:18                                 23:11 47:10           14:3,4,6,16

                                 Veritext Legal Solutions
  www.veritext.com                                                        888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 32 of 34 PageID #:1563


 [voucher - zoom]                                                           Page 14

    15:22 23:17        words 37:12
    43:15 49:6 52:8    work 7:21 18:22
  vouchers 13:17       worked 6:10,11
  vs 1:5                6:12,13,14 7:18
          w             12:12 14:1 17:3
                        46:12
  wait 12:11,13,13
                       working 7:20,22
  waiting 13:4,10
                        9:14 18:21
  waived 60:17
                        19:13
  want 8:8,18
                       writeup 19:16
   15:14 16:6,10
                       written 56:7,11
   31:21 32:3,6
                        56:13,20
   37:12 53:1
                       wrote 44:17
   55:13
  wanted 8:1 15:9              x
   40:4,6 53:14        xlsx 44:18
  wanting 25:16               y
   25:17
                       yeah 7:16 9:9
  washington 1:15
                         18:2 22:10 29:3
   2:12
                         37:7 41:6 55:13
  way 29:6 40:13
                       year 6:17,22
   47:1 56:4
                         50:5
  ways 14:17 41:5
                       years 6:12,18,20
   54:22
                         8:21,21 18:20
  we've 44:9 54:11
                       york 2:6
  went 9:9 30:13
                       yup 46:6 53:4
   37:10 43:18
  witness 4:4 26:8              z
   40:19 41:21         zoom 2:4,10,20
   42:8 43:10 48:1
   49:13 54:6
   56:17 59:4,6,10
   60:8,10 61:1,4
   61:11 62:1,4,15
  witness’ 60:13
  word 14:2 19:15
   54:22


                                 Veritext Legal Solutions
  www.veritext.com                                                      888-391-3376
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 33 of 34 PageID #:1564



                       Federal Rules of Civil Procedure

                                        Rule 30



         (e) Review By the Witness; Changes.

         (1) Review; Statement of Changes. On request by the

         deponent or a party before the deposition is

         completed, the deponent must be allowed 30 days

         after being notified by the officer that the

         transcript or recording is available in which:

         (A) to review the transcript or recording; and

         (B) if there are changes in form or substance, to

         sign a statement listing the changes and the

         reasons for making them.

         (2) Changes Indicated in the Officer's Certificate.

         The officer must note in the certificate prescribed

         by Rule 30(f)(1) whether a review was requested

         and, if so, must attach any changes the deponent

         makes during the 30-day period.




         DISCLAIMER:       THE FOREGOING FEDERAL PROCEDURE RULES

         ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

         THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

         2019.     PLEASE REFER TO THE APPLICABLE FEDERAL RULES

         OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
Case: 1:18-cv-02022 Document #: 104-8 Filed: 03/20/23 Page 34 of 34 PageID #:1565

                   VERITEXT LEGAL SOLUTIONS
         COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

    Veritext Legal Solutions represents that the
    foregoing transcript is a true, correct and complete
    transcript of the colloquies, questions and answers
    as submitted by the court reporter. Veritext Legal
    Solutions further represents that the attached
    exhibits, if any, are true, correct and complete
    documents as submitted by the court reporter and/or
    attorneys in relation to this deposition and that
    the documents were processed in accordance with
    our litigation support and production standards.

    Veritext Legal Solutions is committed to maintaining
    the confidentiality of client and witness information,
    in accordance with the regulations promulgated under
    the Health Insurance Portability and Accountability
    Act (HIPAA), as amended with respect to protected
    health information and the Gramm-Leach-Bliley Act, as
    amended, with respect to Personally Identifiable
    Information (PII). Physical transcripts and exhibits
    are managed under strict facility and personnel access
    controls. Electronic files of documents are stored
    in encrypted form and are transmitted in an encrypted
    fashion to authenticated parties who are permitted to
    access the material. Our data is hosted in a Tier 4
    SSAE 16 certified facility.

    Veritext Legal Solutions complies with all federal and
    State regulations with respect to the provision of
    court reporting services, and maintains its neutrality
    and independence regardless of relationship or the
    financial outcome of any litigation. Veritext requires
    adherence to the foregoing professional and ethical
    standards from all of its subcontractors in their
    independent contractor agreements.

    Inquiries about Veritext Legal Solutions'
    confidentiality and security policies and practices
    should be directed to Veritext's Client Services
    Associates indicated on the cover of this document or
    at www.veritext.com.
